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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________     District of __________
 District of Delaware

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Spark Networks, Inc.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                  ✔
                                                       Federal Employer Identification Number (EIN)       2 ___
                                                                                                          ___ 0 – 8___ 9___ 0___ ___
                                                                                                                                 1 ___
                                                                                                                                     7 ___
                                                                                                                                        3 ___
                                                                                                                                           3

                                                       Other ___________________________. Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Adrian Frankum
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             German StaRUG Proceeding
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                           ✔
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign                     A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.
                                           ✔
                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevDnt documentation, translated into English, is attached.
                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                  Order appointing restructuring officer; see Exhibit 2. Resolution authorizing participation in StaRUG
                                                  proceeding  and appointing Foreign Representative; see Exhibit 3. Restructuring Plan; see Exhibit
                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                  4.
                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




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Debtor          Spark  Networks, Inc.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        United States
                                        ______________________________________________                   251 Little Falls Drive
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Wilmington, New Castle             DE      19808
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region  ZIP/Postal Code


                                                                                                         United States
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 485 Lexington Avenue, 10th Floor
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 New York                           NY      10017
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region  ZIP/Postal Code


                                         _______________________________________________                 United States
                                                                                                         _______________________________________________
                                         Country                                                         Country




10. Debtor’s website (URL)
                                          https://www.spark.net
                                         ____________________________________________________________________________________________________




11. Type of debtor                       Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor      Spark  Networks, Inc.
            _______________________________________________________                        Case number (if known)_____________________________________
               Name




12. Why is venue proper in this      Check one:
   district?                         ✔
                                          Debtor’s principal place of business or principal assets in the United States are in this district.
                                          Debtor does not have a place of business or assets in the United States, but the following
                                           action or proceeding in a federal or state court is pending against the debtor in this district:
                                           ___________________________________________________________________________.

                                          If neither box is checked, venue is consistent with the interests of justice and the convenience
                                           of the parties, having regard to the relief sought by the foreign representative, because:
                                           ___________________________________________________________________________.



13. Signature of foreign
   representative(s)                 I request relief in accordance with chapter 15 of title 11, United States Code.

                                     I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                     relief sought in this petition, and I am authorized to file this petition.

                                     I have examined the information in this petition and have a reasonable belief that the
                                     information is true and correct.

                                     I declare under penalty of perjury that the foregoing is true and correct,


                                     8 /s/ Adrian Frankum
                                          ________________________________________________          Adrian Frankum
                                                                                                    _______________________________________________
                                         Signature of foreign representative                        Printed name


                                     Executed on         11/17/2023
                                                         __________________
                                                          MM / DD / YYYY



                                     8    ________________________________________________          _______________________________________________
                                         Signature of foreign representative                        Printed name


                                     Executed on         __________________
                                                          MM / DD / YYYY




14. Signature of attorney
                                     8 /s/ Zachary I. Shapiro
                                          _________________________________________________ Date                  11/17/2023
                                                                                                                 _________________
                                          Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                         Zachary  I. Shapiro
                                         _________________________________________________________________________________________________
                                         Printed name
                                         Richards,  Layton & Finger, P.A.
                                         _________________________________________________________________________________________________
                                         Firm name
                                         One  Rodney Square, 920 North King Street
                                         _________________________________________________________________________________________________
                                         Number         Street
                                         Wilmington
                                         ____________________________________________________ DE          19801
                                                                                               __________________________________________
                                         City                                                            State         ZIP Code


                                         (302) 651-7819
                                         ____________________________________                            shapiro@rlf.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address




                                         5103                                                   DE
                                         ______________________________________________________ ____________
                                         Bar number                                                      State




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                      Exhibit 1
           Corporate Ownership Statement
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 15

    SPARK NETWORKS SE, et al., 1                                       Case No. 23-_______(___)

                         Entities that are subject to a                (Joint Administration Requested)
                         foreign proceeding.



           CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY
      INTEREST HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(4) AND 7007.1

       Pursuant to Rules 1007(a)(4) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
Spark Networks, Inc. states as follows:

                                               Name and Address of Equity                   Percentage of Interests
                  Debtor
                                                    Interest Holder                                 Held
                                                  Spark Networks SE
        Spark Networks, Inc.                      Kohlfurter Str. 41/43                                 100%
                                                      10999 Berlin




1
             The debtors in these chapter 15 cases are the following three entities (the last four digits of their respective
             federal taxpayer identification numbers, if any, follow in parentheses): Spark Networks SE (N/A), a stock
             corporation in the form of a Societas Europaea organized under German law; Spark Networks, Inc. (1733),
             a Delaware corporation; and Zoosk, Inc. (3601), a Delaware corporation. The Chapter 15 Debtors' noticing
             address in these Chapter 15 Cases is Kohlfurter Str. 41/43, 10999 Berlin.
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                            Exhibit 2

Order Appointing Restructuring Officer (with English translation)
            Case 23-11881-MFW           Doc 1$EVFKULIW
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




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                                                                             31.10.2023
                                                                          Brinkmann & Partner mbB




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           Case 23-11881-MFW            Doc 1      Filed 11/17/23      Page 9 of 89
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HLQ]XOHJHQ

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36s RES 6525/23

In the restructuring matter

Spark Networks SE,
Kohlfurter Straße 41 / 43, 10999 Berlin,
represented by the Managing Directors
Colleen Birdnow Brown and Kristie Goodgion,
Register court: Munich Local Court Register no.: HRB 232591
- Debtor -

The following person is appointed ex officio as Restructuring Officer
Attorney Dr. Philipp Hackländer
Rahel-Hirsch-Straße 10, 10557 Berlin

The Restructuring Officer is under the supervision of the restructuring court. The court can
request individual information or a report on the status of the restructuring matter at any time.

If the Restructuring Officer identifies circumstances that justify the restructuring case being set
aside in accordance with § 33 StaRUG, he must inform the restructuring court of these without
any undue delay.

The Restructuring Officer is tasked with facilitating the negotiations between the parties
involved. The Restructuring Officer also supports the Debtor and the creditors in drawing up
and negotiating the restructuring concept and the restructuring plan based on it.

The Restructuring Officer shall review the claims, rights to separate satisfaction, intra-group
third-party collateral as well as share and membership rights of the parties affected by the
restructuring plan; if a restructuring claim, right to separate satisfaction or intra-group third-
party collateral or a share and membership right is disputed or doubtful in terms of reason or
amount, the Restructuring Officer shall inform the other parties affected by the plan and work
towards clarification of the voting right by way of a preliminary court review in accordance
with §§ 47 to 48 StaRUG.

The Restructuring Officer is requested to legally review the selection of the persons affected
by the restructuring plan and the formation of the groups for their comprehensibility and factual
conclusiveness and to report to the court on this as soon as possible.

If a stabilization order is issued in favor of the Debtor, the Restructuring Officer continuously
examines whether the conditions for the order continue to exist and whether there are grounds
for setting aside the order. To this end, the Restructuring Officer examines the Debtor's



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economic and financial conditions. At the same time, the Restructuring Officer has the right to
assert the reasons for the lifting of the order to the court.

If the Debtor submits a restructuring plan for court confirmation, the Restructuring Officer
comments on the Debtor's declaration pursuant to § 14 (1) StaRUG (on the prospects that the
restructuring plan will eliminate the Debtor's impending insolvency and that the plan will
secure or restore the Debtor's ability to continue as a going concern). In this restructuring report,
the Restructuring Officer shall also state any doubts regarding the existence or amount of a
restructuring claim, a right to separate satisfaction, an intra-group third-party security or a share
and membership right pursuant to § 76 (2) no. 1, half-sentence 4 StaRUG or a dispute in this
regard.

The Debtor is obliged to notify the court and the Restructuring Officer of any material change
that affects the subject matter of the notified restructuring project, the presentation of the status
of negotiations and the restructuring plan (§ 32 (2) StaRUG).

The Debtor is obliged to notify the restructuring court immediately of the occurrence of
insolvency within the meaning of § 17 (2) of the Insolvency Code (§ 32 (4) StaRUG).

The Debtor is obliged to notify the court without any undue delay if the restructuring plan has
no prospect of implementation, in particular if, as a result of the serious and final rejection of
the submitted restructuring plan by those affected by the plan that has become apparent, it
cannot be assumed that the majorities required for plan acceptance can be achieved (§ 32 (4)
StaRUG).

The Debtor is required to notify the Restructuring Officer of payments and to make payments
outside the ordinary course of business only if the Restructuring Officer agrees (§ 76 (2) no. 3
StaRUG).

If the Restructuring Officer identifies circumstances that justify cancellation of the
restructuring case in accordance with § 33 StaRUG, he must notify the restructuring court of
these without any undue delay (§ 76 (1) StaRUG).

The Restructuring Officer is authorized to review the Debtor's financial situation and monitor
its management (§ 76 (2) no. 2a StaRUG).

Pursuant to § 76 (6) StaRUG, the Restructuring Officer is instructed to carry out the service of
documents incumbent on the court. The Restructuring Officer may use third parties, in
particular his own staff, to carry out the service and to record it in the files. He or she must
submit the notes made by him or her in accordance with § 184(2) sentence 4 of the Code of
Civil Procedure to the court files without any undue delay.



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The appropriate hourly rate for the Restructuring Officer's fee is set at EUR 350.00 (insofar as
the Restructuring Officer acts personally). Insofar as the supportive deployment of qualified
employees is required, the Restructuring Officer shall also receive a fee for their work; in this
respect, the appropriate hourly rate is set at EUR 200.00. Based on the hourly budget submitted,
the maximum amount for the fee is set at EUR 20,000.00.

The Debtor is requested to pay an advance on costs in the amount of EUR 20,000.00 to the
court without any undue delay.

If the hourly budgets used as a basis for determining the maximum amount are not sufficient
for the proper performance of the tasks and powers, the Restructuring Officer shall immediately
explain the reason for and extent of the need for an increase to the restructuring court.

Legal remedies:

An immediate appeal (hereinafter: Appeal) can be lodged against the decision (§ 40 (1)
sentence 1 StaRUG).

The complaint must be lodged within a mandatory notice period of two weeks with the

Charlottenburg Local Court
Local court square 1
14057 Berlin

Any affected creditor may also challenge this first court decision in a public restructuring case
on grounds of international jurisdiction by means of an immediate appeal, § 84 (2) sentence 3
StaRUG, Article 102c Section 4 EGInsO, Article 5 EuInsVO. Only international jurisdiction
can be challenged with this appeal.

The time period begins when the decision is announced or, if it is not announced, when it is
served or, in public restructuring cases, when the effective public announcement pursuant to
§ 86 StaRUG is published on the Internet (www.restrukturierungsbekanntmachung.de). The
public announcement is sufficient proof of service on all parties involved, even if the law
prescribes special service in addition to it, § 86 (3) StaRUG. It is deemed to have been effected
as soon as two further days have elapsed after the day of publication, § 86 (1) sentence 2
StaRUG. The event that occurred first (promulgation, service or effective public
announcement) is decisive for the start of the time period.

The appeal must be lodged in writing or by declaration for the record at the registry of the
aforementioned court. It may also be declared for the record before the registry of any local
court; however, the deadline is only met if the record is received by the above-mentioned court
on time. The participation of a lawyer is not required.

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The complaint must be signed by the complainant or his/her authorized representative.

The notice of appeal must contain the name of the contested decision and a statement that an
appeal is being lodged against this decision.
|
Legal remedies can also be submitted as an electronic document. A simple e-mail does not
meet the legal requirements.

Legal remedies submitted by a lawyer, a notary, a public authority or a legal entity under public
law, including the associations formed by it to perform its public duties, must be submitted as
an electronic document, unless this is temporarily impossible for technical reasons. In this case,
transmission shall remain permissible in accordance with the general provisions, whereby the
temporary impossibility must be substantiated at the time of the substitute submission or
immediately thereafter. The electronic document must be submitted upon request.

Electronic documents must |be provided with a qualified electronic signature of the person
responsible or |signed by the person responsible and submitted via a secure transmission
channel.

An electronic document bearing a qualified electronic signature of the person responsible may
be transmitted as follows:
|on a secure transmission channel or
|to the court's electronic court and administrative mailbox (EGVP) set up for the receipt of
electronic documents.

With regard to secure transmission channels, reference is made to § 130a (4) of the Code of
Civil Procedure. With regard to the other requirements for electronic communication with the
courts, please refer to the Ordinance on the Technical Framework Conditions for Electronic
Legal Transactions and on the Special Electronic Mailbox for Public Authorities (Electronic
Legal Transactions Ordinance - ERVV) as amended and to the website www.justiz.de.

Charlottenburg Local Court - Restructuring Court - 30.10.2023




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                          Exhibit 3

Resolution Authorizing Participation in StaRUG Proceeding and
              Appointing Foreign Representative
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                                                                                          Execution Version


                                              SPARK NETWORKS, INC.
                                               (a Delaware corporation)
                              Action by Unanimous Written Consent of the Board of Directors
                                                   October 8, 2023

                  Pursuant to Section 141(f) of the General Corporation Law of the State of Delaware, the
           undersigned, being the sole member of the board of directors (the “Board”) of Spark Networks,
           Inc., a Delaware corporation (the “Company”, and together with its subsidiaries and affiliates, the
           “Spark Group”), hereby consent by this Action by Unanimous Written Consent of the Board of
           Directors to the adoption of the following resolutions with the same force and effect as if they had
           been unanimously adopted by a duly convened meeting of the Board:

                   WHEREAS, the Company is a direct subsidiary of Spark Networks SE, a European stock
           corporation (Societas Europaea, SE), having its corporate seat Munich, Germany with office
           address at Kohlfurter Str. 41/43, 10999 Berlin, Germany, registered with the commercial register
           of the local court of Munich, Germany, under registration number HRB 232591 (“Parent”);

                   WHEREAS, on or about March 11, 2022, Parent entered into that certain Financing
           Agreement among the Parent, Spark Networks, Inc., a Delaware corporation (“Spark Networks
           US”), Zoosk, Inc., a Delaware corporation (“Zoosk”, and together with the Parent and Spark
           Networks, each, a “Borrower” and, collectively, the “Borrowers”), MGG Investment Group LP
           (“MGG”) (as administrative agent for the lenders), and the other parties thereto (as amended,
           restated, supplemented or otherwise modified prior to the date hereof, the “Financing
           Agreement”);

                  WHEREAS, Parent, Spark Networks US and Zoosk are debtors under the Financing
           Agreement, and Spark Networks Services GmbH, Spark Networks USA, LLC, Smooch Labs Inc.,
           MingleMatch, Inc., Spark Networks Limited and LOV USA, LLC (collectively, the “Guarantors”,
           and together with the Borrowers, the “StaRUG Parties”) are guarantors under the Financing
           Agreement;

                   WHEREAS, the board of directors of Parent (the “Parent Board”) authorized Parent on
           June 1, 2022, to engage Moelis & Company (“Moelis”), a global independent investment bank, to
           evaluate strategic alternatives for Parent, including a potential sale, merger or other similar
           transaction (the “Strategic Alternatives Process”), and, throughout the Strategic Alternatives
           Process, Moelis engaged in active dialogue with the potential counterparties and assisted Parent’s
           management and the Parent Board in evaluating options;

                  WHEREAS, the Strategic Alternatives Process, which continued through 2022 and into
           2023, did not result in any binding offers;

                   WHEREAS, on or about March 29, 2023, Parent entered into that certain Amendment
           No. 2 to Financing Agreement and Forbearance Agreement, among the Borrowers, MGG and the
           other parties thereto (as same has been amended on numerous occasions pursuant to the
           Amendments (as defined below)), (the “Forbearance Agreement”) pursuant to which MGG
           agreed, subject to the terms and conditions set out therein, not to exercise remedies as a result of
           certain events of default that had occurred under the Financing Agreement (the "Forbearance");




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                   WHEREAS, due to the ongoing events of default under the Financing Agreement, Parent,
           MGG and the other parties to the Forbearance Agreement have entered into a number of
           amendments to the Forbearance Agreement, in order to extend the Forbearance period, to ensure
           that MGG continues to refrain from exercising its remedies under the Financing Agreement, as a
           result of the events of default, including Amendment No. 1 to Forbearance Agreement, dated May
           15, 2023, Amendment No. 2 to Forbearance Agreement, dated May 25, 2023, Amendment No. 3
           to Forbearance Agreement and Financing Agreement, dated June 15, 2023, Amendment No. 4 to
           Forbearance Agreement, dated July 14, 2023, Amendment No. 5 to Forbearance Agreement, dated
           July 21, 2023, Amendment No. 6 to Forbearance Agreement, dated July 28, 2023, Amendment
           No. 7 to Forbearance Agreement, dated August 4, 2023, Amendment No. 8 to Forbearance
           Agreement, dated August 11, 2023, Amendment No. 9 to Forbearance Agreement and
           Amendment No. 5 to Financing Agreement, dated September 1, 2023, Amendment No. 10 to
           Forbearance Agreement, dated September 8, 2023, Amendment No. 11 to Forbearance
           Agreement, dated September 15, 2023, Amendment No. 12 to Forbearance Agreement, dated
           September 22, 2023, and Amendment No. 13 to Forbearance Agreement, dated September 29,
           2023 (the “Amendments”);

                   WHEREAS, in June 2023, Parent with the assistance of its financial advisor, Ankura
           Consulting, LLC (“Ankura”), delivered a bottoms-up, step-by-step operational performance
           improvement plan with a fully integrated financial model, including restructuring options and
           future capital and liquidity requirements of the StaRUG Parties (the “Business Plan”);

                   WHEREAS, in July 2023, the Parent Board retained Ernst & Young GmbH
           Wirtschaftsprüfungsgesellschaft Strategy and Transactions (“EY”) to evaluate and issue an IDW
           S6 restructuring opinion which was completed and issued in August 2023 and which confirmed
           the StaRUG Parties’ funding need in order to execute under the Business Plan;

                  WHEREAS, the Parent Board has carefully considered funding and restructuring options
           including a potential private placement and has held corresponding discussions with certain
           shareholders and other potential investors but which has not produced any viable funding or
           investment scenarios;

                   WHEREAS, the Board has carefully considered the financial restructuring of the Spark
           Group under the German Corporate Stabilization and Restructuring Act (the “StaRUG”), and the
           Board has evaluated the advantages and disadvantages of the StaRUG restructuring and has
           concluded that the StaRUG restructuring would resolve the balance sheet over-indebtedness and
           the strengthening of Parent’s equity while providing the StaRUG Parties with continued support
           and necessary funding from MGG to execute under the Business Plan;

                   WHEREAS, in order to ensure that the Forbearance continues during the StaRUG
           proceedings, MGG has agreed to enter into the Amended and Restated Forbearance Agreement
           and Collateral Agent Advance Agreement (the “A&R Forbearance Agreement”) together with
           Parent and the other parties thereto, pursuant to which, among other things, (a) MGG will agree,
           on the terms and subject to the conditions set out therein, not to exercise remedies as a result of
           the events of default described therein, while the StaRUG proceedings are ongoing, (b) MGG will
           agree to provide the Company with interim liquidity in order to meet working capital needs while
           the StaRUG proceedings are ongoing, and (c) MGG will make certain amendments to the
           Financing Agreement while the StaRUG proceedings are ongoing, including deferring the
           September 30, 2023 principal repayment;


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                   WHEREAS, MGG has agreed to vote in favor of the StaRUG and support the
           restructuring of the StaRUG Parties’ balance sheet and operations;

                    WHEREAS, MGG and the StaRUG parties have agreed to enter into amendment no. 7 to
           the Financing Agreement (“Amendment No. 7”) as part of the StaRUG, (the Financing
           Agreement, as amended by Amendment No. 7 is referred to as the “Amended Financing
           Agreement”) to modify the Financing Agreement, to among other things, (i) amend the leverage
           ratios, (ii) waive all amounts due under the Financing Agreement at the time of the approval of
           the StaRUG plan, should the Berlin Bankruptcy Court (as defined below) grant such approval, in
           excess of $100,000,000 such that the principal amount owed to MGG under the Amended
           Financing Agreement following approval of the StaRUG plan will be $100,000,000 and (iii) make
           available to the Borrowers a new revolving loan commitment (the “Revolving Commitment”) in
           an amount of $10,000,000 (collectively, the “Financing Agreement Amendments”);

                   WHEREAS, the StaRUG Parties will each be subject to the jurisdiction of the Berlin
           Local Court Charlottenburg – Restructuring Court – (the “Berlin Bankruptcy Court”) and, as such,
           each is a beneficiary of the StaRUG plan, and Spark Networks US, Zoosk, and the Guarantors, to
           the extent necessary, appropriate or required by the Berlin Bankruptcy Court, will actively
           participate in the StaRUG to ensure a worldwide restructuring of the StaRUG Parties’ balance
           sheet and operations;

                   WHEREAS, the Board has had the opportunity to consult with the management and the
           legal and financial advisors of the Company regarding the material terms of the StaRUG; and

                   WHEREAS, to facilitate the worldwide implementation and effectuation of the StaRUG
           plan and to obtain recognition and comity of the StaRUG plan, if approved by the Berlin
           Bankruptcy Court, the StaRUG Parties will take all necessary and appropriate steps to seek such
           recognition and comity, by and through their duly appointed foreign representative, in any
           jurisdiction where the StaRUG Parties operate or have assets or in any jurisdiction where the
           foreign representative deems necessary or appropriate to achieve the implementation of the
           approved StaRUG plan.

                  In consideration of the above:

                 RESOLVED, that the Board hereby approves (a) the Company’s entry into the A&R
           Forbearance Agreement, (b) the Company’s entry into Amendment No. 7 to document the
           Financing Agreement Amendments, and (c) the Company’s participation in the StaRUG by and
           through the duly appointed foreign representative;

                 RESOLVED, that in the business judgment of the Board, it is desirable, and in the best
           interests, to the extent necessary or required by the Berlin Bankruptcy Court, of the Company and
           the other StaRUG Parties to participate in the StaRUG;

                  RESOLVED, that the Board hereby appoints Adrian Frankum as the foreign representative
           of the Company, to represent the Company seeking recognition and to commence any proceeding
           in connection therewith in any jurisdiction which is necessary or appropriate, including in the
           United States pursuant to chapter 15 of title 11 of the United States Code (“Chapter 15”), to
           implement and give effect to the StaRUG, and to take such actions necessary and to execute and
           deliver, for and on behalf of the StaRUG Parties, any agreements, documents and instruments and
           the like in connection therewith;

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                  RESOLVED, that for the purposes of these resolutions, the term “Authorized Person”
           shall mean and include any director, manager or officer, or any designee of any of them, of the
           Company, as well as any person with relevant powers granted by the Company, and Adrian
           Frankum;

                   RESOLVED, that, in addition to the specific authorizations heretofore conferred upon the
           Authorized Persons, each Authorized Person be, and hereby is, authorized with full power of
           delegation, in the name and on behalf of the Company, to take or cause to be taken any and all
           such further actions and to execute and deliver or cause to be executed or delivered, and to amend,
           supplement or otherwise modify from time to time, any and all such agreements, documents
           certificates, instruments, statements, notices, undertakings, amendments and other writings, and
           to incur and to pay or direct payment of all such fees and expenses, including filing fees, as in the
           judgment of the Authorized Person shall be necessary, desirable or appropriate to effectuate the
           purpose and intent of any and all of the foregoing resolutions adopted herein;

                   RESOLVED, that the signature of any director or Authorized Person may, but need not,
           be a facsimile or electronic signature imprinted or otherwise reproduced on the documents, and
           for that purpose the Company hereby adopts as binding upon it the facsimile signature of any
           present or future director or Authorized Person, notwithstanding the fact that at the time the
           documents shall be executed, authenticated or delivered or disposed of such person shall have
           ceased to be a director or Authorized Person of the Company and that, in case any director or
           Authorized Person of the Company whose facsimile signature shall appear on the documents shall
           cease to hold such office before the documents have been executed, authenticated and delivered
           or disposed of by the Company, such documents nevertheless may be executed, authenticated and
           delivered or disposed of and such documents shall be valid as though such person had not ceased
           to hold such position with the Company; and that any such documents as shall have been so
           executed, authenticated, delivered or disposed of are hereby adopted by the Company as its
           binding obligations;

                   RESOLVED, that any and all lawful actions and transactions by any Authorized Person,
           or at the direction of an Authorized Person, for and on behalf and in the name of the Company
           with respect to any transactions contemplated by the foregoing resolutions, before the adoption of
           the foregoing resolutions be, and they hereby are, ratified, authorized, approved, adopted and
           consented to in all respects for all purposes;

                  RESOLVED, that the Authorized Persons shall be, and each of them individually hereby
           is, authorized, directed and empowered, in the name and on behalf of the Company, to retain: (a)
           Jones Day; (b) EY; (c) Brinkmann & Partner; (d) Ankura; (e) Richards, Layton & Finger, P.A., as
           Delaware Chapter 15 counsel; (f) Kroll Restructuring Administration LLC, as noticing agent; and
           (g) such additional professionals, including attorneys, accountants, financial advisors, investment
           bankers, actuaries, consultants, experts, agents or brokers (together with the foregoing identified
           firms, the “Professionals”), in each case as in any such Authorized Person's judgment may be
           necessary, desirable or appropriate in connection with the StaRUG and other related matters, on
           such terms as such Authorized Person or Authorized Persons shall approve and such Authorized
           Person's retention thereof to constitute conclusive evidence of such Authorized Person's approval
           and the necessity, desirability or appropriateness thereof;

                  RESOLVED, that all acts lawfully done or actions lawfully taken by any Authorized
           Person, or at the direction of an Authorized Person, or by any of the Professionals at the direction

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           of an Authorized Person, in connection with the StaRUG or any proceedings related thereto, or
           any matter related thereto, be, and hereby are, adopted, ratified, confirmed and approved in all
           respects as the acts and deeds of the Company; and

                 RESOLVED, these resolutions may be executed in any number of counterparts, each of
           which when so executed will be deemed an original, but all such counterparts together will
           constitute one and the same instrument.




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           THIS RESOLUTION is dated as stated at the beginning of this document:



            ________________________________
            Colleen Birdnow Brown




                               [Signature Page to Board Resolutions (StaRUG) –Spark Networks, Inc.]
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                        Exhibit 4

                    Restructuring Plan
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   Restrukturierungsplan                                         Restructuring Plan


   in der öffentlichen Restrukturierungssache der                  in the public restructuring case of




              Spark Networks SE                                        Spark Networks SE
           mit Verwaltungssitz in Berlin,                               with its office in Berlin,
          eingetragen im Handelsregister                                     registered with
            des Amtsgerichts München                                   the Local Court Munich
                     HRB 232591                                               HRB 232591




             Amtsgericht Charlottenburg                               Local Court Charlottenburg
             – Restrukturierungsgericht –                                – Restructuring Court –

          Aktenzeichen: 36s RES 6525/23                             Case number: 36s RES 6525/23




Für Zwecke des Restrukturierungsverfahrens gemäß Sta-       For the purposes of the restructuring proceedings
RUG ist ausschließlich die deutsche Sprachfassung die-      pursuant to StaRUG, only the German language
ses Restrukturierungsplans maßgeblich. Die englische        version of this Restructuring Plan shall be authori-
Sprachfassung dient lediglich der besseren Verständlich-    tative. The English language version merely serves
keit für internationale Verfahrensbeteiligte.               the purpose of better comprehensibility for interna-
                                                            tional parties to the proceedings.


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A.    Zusammenfassung                                   A.    Summary


Der Restrukturierungsplan wird von der Spark Net-       The Restructuring Plan is proposed by Spark
works SE mit Verwaltungssitz in Berlin sowie ein-       Networks SE, with its head office in Berlin,
getragen im Handelsregister des Amtsgerichts Mün-       registered with the commercial register of the
chen unter HRB 232591 („Schuldnerin“) vorge-            Local Court of Munich under register number
legt. Ziel ist eine finanzielle Restrukturierung als    HRB 232591 (“Debtor”). The aim is financial
Begleitmaßnahme zur operativen Neuausrichtung           restructuring as an accompanying measure to
der Spark-Gruppe außerhalb des StaRUG-Verfah-           the out-of-court operational restructuring of the
rens. Durch den Restrukturierungsplan soll eine In-     Spark Group. The Restructuring Plan is in-
solvenz der Schuldnerin vermieden werden, indem         tended to prevent the insolvency of Debtor by
bestandsgefährdende Risiken beseitigt und eine          eliminating risks that could jeopardize its con-
ohne den Restrukturierungsplan vorliegende bilan-       tinued existence and resolving any balance
zielle Überschuldung aufgelöst wird. Zusätzlich ge-     sheet over-indebtedness that would have ex-
währen die Darlehensgeber der Schuldnerin, MGG          isted without the Restructuring Plan. In addi-
(wie nachstehend definiert), die benötigte Interim-     tion, Debtor’s lenders, MGG (as defined be-
Finanzierung (wie nachstehend definiert), um be-        low), have agreed to provide Debtor much-
stimmte Verfahrensschritte im Restrukturierungs-        needed Interim Financing (as defined below) to
verfahren zu erreichen und die außerhalb des Rest-      achieve certain procedural steps in the StaRUG
rukturierungsverfahrens   stattfindende     operative   proceedings and the out-of-court operational
Restrukturierung durchzuführen. Mit diesen Maß-         restructuring. These measures are intended to
nahmen soll sichergestellt werden, dass der opera-      ensure that the operations of Debtor and its sub-
tive Betrieb der Schuldnerin bzw. ihrer Tochterun-      sidiaries can be restructured and continued.
ternehmen saniert und fortgeführt werden kann.          The Restructuring Plan regulates the financial
Durch den Restrukturierungsplan werden die finan-       measures, in particular the necessary debt relief
ziellen Maßnahmen, insbesondere die notwendige          of Debtor and the strengthening of its equity,
Entschuldung der Schuldnerin und die Stärkung ih-       while Debtor also implements various opera-
res Eigenkapitals, geregelt, während die Schuldne-      tional restructuring measures pursuant to an
rin daneben auch diverse operative Sanierungsmaß-       overall restructuring concept adopted by the
nahmen auf Grundlage eines vom Verwaltungsrat           Debtor’s administrative board in July 2023.
der Schuldnerin im Juli 2023 beschlossenen Ge-
samt-Restrukturierungskonzepts durchführt.


Das dem Restrukturierungsplan zugrunde liegende         The overall restructuring concept on which the
Gesamt-Restrukturierungskonzept wird durch einen        Restructuring Plan is based is validated by an
unabhängigen    Sanierungsgutachter       – Ernst   &   independent restructuring expert – Ernst &
Young    GmbH      Wirtschaftsprüfungsgesellschaft      Young GmbH Wirtschaftsprüfungsgesellschaft
Strategy and Transactions – im Wege eines Sanie-        Strategy and Transactions – in the form of a re-
rungsgutachtens in Anlehnung an IDW S6 und unter        structuring opinion based on IDW S6 and tak-
                                                        ing into account the highest court rulings.


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Berücksichtigung der höchstrichterlichen Recht-
sprechung validiert.


In den Restrukturierungsplan wird eine besicherte    Included in the Restructuring Plan is a secured
Darlehensverbindlichkeit      in     Höhe     von    loan       facility     in   the   amount              of
USD 100.000.000,00 zuzüglich kapitalisierter Zin-    USD 100,000,000.00 plus capitalized interest
sen (das „MGG-Darlehen“ und der zugrundelie-         (the “MGG Loan” and the underlying agree-
gende Vertrag vom 11. März 2022 in der durch die     ment dated as of March 11, 2022, as amended
Änderungsvereinbarungen Nr. 1 bis 6 geänderten       pursuant to amendments No. 1 through 6, the
Fassung die „Finanzierungsvereinbarung“) der         “Financing Agreement”) made to Debtor and
Schuldnerin und bestimmter weiterer Mitglieder der   certain other members of the Spark Group by
Spark-Gruppe gegenüber einer Reihe von Gesell-       several companies of the MGG group repre-
schaften der MGG-Gruppe, die von der MGG In-         sented by MGG Investment Group LP as agent
vestment Group LP als Agentin und Sicherheiten-      and collateral agent (together, “MGG” or
agentin angeführt werden (gemeinsam „MGG“ o-         “Plan-Affected Financial Creditors”). At the
der „Planbetroffene Finanzgläubiger“), einbezo-      time of the submission of this Restructuring
gen. Zum Zeitpunkt der Vorlage dieses Restruktu-     Plan, the aggregate outstanding principal
rierungsplans beträgt der gesamte ausstehende Dar-   amount        of       the   MGG        Loan           is
lehensbetrag USD 107.615.030,87 (inkl. aufgelau-     USD 107,615,030.87 (incl. accrued interest
fener Zinsen und eines Teils der Interim-Finanzie-   and part of the Interim Financing (as defined
rung (wie nachstehend definiert)).                   below)).


Darüber hinaus bezieht der Restrukturierungsplan     In addition, the Restructuring Plan includes un-
unbesicherte Verbindlichkeiten der Schuldnerin aus   secured liabilities of the Debtor from so-called
sogenannten „Zoosk Holdback Notes“ in Höhe von       “Zoosk Holdback Notes” in the total current
aktuell insgesamt USD 13.710.109,97 („Zoosk-No-      amount       of    USD 13,710,109.97        (“Zoosk
tes“) ein. Die Zoosk-Notes resultieren aus dem Er-   Notes”). The Zoosk Notes result from the ac-
werb der Zoosk, Inc. durch die Schuldnerin im Jahr   quisition of Zoosk, Inc. by the Debtor in 2019
2019 und wurden an die damaligen Anteilseigner       and were issued to the former shareholders
ausgereicht, von denen die Schuldnerin die Anteile   from which the Debtor acquired the shares in
an der Zoosk, Inc. erwarb. MGG hat die Zoosk-No-     Zoosk, Inc. MGG acquired the Zoosk Notes by
tes käuflich erworben.                               way of a purchase agreement.


Daneben werden die Aktionäre der Schuldnerin als     In addition, the shareholders of Debtor shall be
Inhaber von Anteils- und Mitgliedschaftsrechten im   included in the Restructuring Plan as holders of
Sinne von § 9 Abs. 1 S. 2 Nr. 4 StaRUG („Planbe-     share and membership rights within the mean-
troffene Aktionäre“ und zusammen mit den Plan-       ing of Sec. 9 (1) sent. 2 no. 4 StaRUG (“Plan-
betroffenen Finanzgläubigern die „Planbetroffe-      Affected Shareholders” and together with the
nen“) in den Restrukturierungsplan einbezogen.       Plan Affected Financial Creditors, the “Plan-
                                                     Affected Parties”).



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    Wesentliche Bestandteile des dem Restrukturie-             Key elements of the overall restructuring con-
    rungsplan und der außergerichtlich stattfindenden          cept underlying the Restructuring Plan and the
    operativen Restrukturierung zugrunde liegenden             related out-of-court operational restructuring
    Gesamt-Restrukturierungskonzepts sind überblicks-          are summarized as follows:
    artig:


            eine Umstrukturierung des operativen Ge-               a restructuring of business operations by
             schäftsbetriebs durch Auslagerung wesentli-             outsourcing significant parts of market-
             cher Teile des Marketings sowie der techni-             ing as well as technology engineering,
             schen Entwicklung, Systempflege und des                 maintenance functions and most cus-
             Kundenservices. Hiermit ist auch eine Redu-             tomer service. This is also associated
             zierung der Arbeitnehmer in der Spark-                  with a reduction in the number of em-
             Gruppe verbunden;                                       ployees in the Spark Group;


            ein Teilforderungserlass der Darlehensver-             a partial waiver of claims for the loan li-
             bindlichkeiten der Spark-Gruppe aus dem                 abilities of Spark Group deriving from
             MGG-Darlehen gegenüber MGG, soweit sie                  the MGG Loan to the extent such claims
             zum Zeitpunkt der gerichtlichen Bestätigung             exceed USD 100,000,000.00 at the time
             dieses                Restrukturierungsplans            of the court confirmation of the Restruc-
             USD 100.000.000,00 übersteigen, d. h. vo-               turing Plan, i.e. an estimated total
             raussichtlich insgesamt USD 16.943.800,85               amount of USD 16,943,800.85 (incl. In-
             (inkl. Interim-Finanzierung und aufgelaufe-             terim Financing and accrued interest).
             ner Zinsen). Der Gesamtbetrag der Darle-                The total amount of loan liabilities
             hensverbindlichkeiten, der Gegenstand des               which is subject to such waiver will in-
             Teilforderungserlasses ist, schließt alle neuen         clude any new obligations under the In-
             Verpflichtungen aus der Interim-Finanzie-               terim Financing, but, for the avoidance
             rung ein; allerdings bezieht sich der Teilfor-          of doubt, MGG’s partial claim waiver
             derungserlass durch MGG nur auf die Darle-              shall only relate to the obligations in-
             hensverbindlichkeiten, die vor der Einleitung           curred prior to the commencement of re-
             des Sanierungsverfahrens nach dem StaRUG                structuring proceedings pursuant to
             bestanden;                                              StaRUG;


            eine Anpassung der Covenants der Finanzie-             a modification of covenants of the Fi-
             rungsvereinbarung mit MGG, die Wieder-                  nancing Agreement with MGG, as the
             herstellung der Finanzierungsvereinbarung               reinstatement of the remaining Financ-
             im Übrigen mit einem reduzierten Zinssatz               ing Agreement with a reduced interest
                          1
             von SOFR +850, einem hinausgeschobenen                  rate of SOFR1+850, a postponed amorti-
                                                                     zation schedule and the original maturity


1
         US-amerikanischer Referenzzinssatz // U.S. reference interest rate Secured Overnight Financing Rate
         („SOFR“).

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        Tilgungsplan und der ursprünglichen Lauf-             ending on March 11, 2027 as well as the
        zeit des MGG-Darlehens bis 11. März 2027              provision of a new revolving loan facil-
        sowie das Einräumen einer neuen revolvie-             ity    in   the        maximum     amount          of
        renden Kreditlinie in Höhe von maximal                USD 10,000,000.00 by MGG after go-
        USD 10.000.000,00 durch MGG nach Ab-                  ing through the StaRUG process;
        schluss des StaRUG-Verfahrens;


       ein vollständiger Forderungserlass durch             a full waiver of claims by MGG regard-
        MGG betreffend die Zoosk-Notes, wodurch               ing the Zoosk Notes leading to a reduc-
        die Schuldenlast der Schuldnerin zum Zeit-            tion of Debtor’s debt burden at the time
        punkt der Planbestätigung um voraussicht-             of the plan confirmation in the estimated
        lich                    USD 13.851.262,72             amount            of      USD 13,851,262.72
        (USD 13.710.109,97 inkl. bis dahin auflau-            (USD 13,710,109.97 incl. interest ac-
        fender Zinsen) reduziert wird;                        crued by then);


       eine vereinfachte Kapitalherabsetzung auf            a simplified capital decrease to zero with
        null mit anschließender Kapitalerhöhung um            a     subsequent        capital   increase         of
        EUR 120.000 unter Bezugsrechtsausschluss              EUR 120,000 with exclusion of sub-
        für die bisherigen Aktionäre; und                     scription rights for the existing share-
                                                              holders; and


       eine Liquiditätszufuhr in Gesamthöhe von             a liquidity injection in the total amount
        mehr als USD 20.000.000 durch die Kapital-            of more than USD 20,000,000 through
        erhöhung, durch eine Zuzahlung in die freie           the capital increase, a contribution in the
        Kapitalrücklage und durch die Interim-Fi-             free capital reserve and the Interim Fi-
        nanzierung.                                           nancing.


Zur Zeichnung der neu ausgegebenen Aktien zuge-         Only MGG SPV 33 LLC (“MGG Investor”),
lassen werden soll ausschließlich die MGG SPV 33        a limited liability company incorporated under
LLC („MGG Investor“), eine nach dem Recht des           the laws of the US federal state of Delaware
US-Bundesstaates Delaware gegründete Gesell-            with its registered office in New York, United
schaft mit beschränkter Haftung (limited liability      States, which is held by the MGG entities in
company) mit Sitz in New York, Vereinigte Staaten,      proportion to their contributions under the
die von den MGG-Gesellschaften im Verhältnis ih-        MGG Loan, is to be admitted to subscribe for
rer Beteiligung an den MGG-Darlehen gehalten            the newly issued shares.
wird.


Die Spark-Gruppe erhält von MGG im Rahmen ei-           Under a forbearance and interim loan agree-
ner Stillhalte- und Zwischenfinanzierungsvereinba-      ment, Spark Group receives an interim financ-
rung eine Interim-Finanzierung in Höhe von              ing from MGG in an amount up to
USD 11.000.000 mit der Option, diesen Betrag im         USD 11,000,000, with the potential to increase


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alleinigen Ermessen von MGG Investment Group           this amount to USD 14,000,000 at MGG In-
LP auf bis zu USD 14.000.000 anzuheben, in Form        vestment Group LP’s sole discretion (“Interim
eines Kreditrahmens („Interim-Finanzierung“),          Financing”) to ensure liquidity during the
um die Liquidität während des StaRUG-Verfahrens        StaRUG proceeding. This Interim Financing is
sicherzustellen. Die Interim-Finanzierung wird un-     conditional to certain milestones within the en-
ter der Bedingung verschiedener Meilensteine im        trance and execution of the restructuring case
Rahmen der Durchführung der Restrukturierungssa-       and is governed by the Financing Agreement
che gewährt und der geltenden Finanzierungsver-        increasing the outstanding principal loan
einbarung unter Erhöhung des ausstehenden Darle-       amount. For the avoidance of doubt, the partial
hensbetrags unterstellt. Zur Klarstellung: Der Teil-   waiver of claims regarding the MGG Loan re-
erlass der Forderungen aus dem MGG-Darlehen be-        lates only to obligations incurred prior to the
zieht sich nur auf die Darlehensverbindlichkeiten,     commencement of restructuring proceedings
die vor der Einleitung des Restrukturierungsverfah-    pursuant to StaRUG and does not include a par-
rens gemäß StaRUG entstanden sind, und beinhaltet      tial waiver of any new obligations incurred un-
keinen Teilverzicht auf neu entstandene Darlehens-     der the Interim Financing. Therefore, taking
verbindlichkeiten aus der Interim-Finanzierung.        into consideration the substantial debt waivers,
MGG deckt daher unter Berücksichtigung der be-         MGG covers the equity capital needs of
trächtlichen Forderungsverzichte den vom Sanie-        USD 20,000,000 identified by the restructuring
rungsgutachten festgestellten Eigenkapitalbedarf       opinion (inclusive of the Interim Financing, the
von USD 20.000.000 (einschließlich Interim-Finan-      capital increase and the contribution in the cap-
zierung, Kapitalerhöhungsbetrag und Zuzahlung in       ital reserve).
die Kapitalrücklage).


Ohne die Implementierung der unter dem Restruk-        Without the implementation of the restructur-
turierungsplan vorgesehenen sowie der außerge-         ing measures provided for under the Restruc-
richtlichen operativen Restrukturierungsmaßnah-        turing Plan and the out-of-court operational re-
men sowie der darauf bedingten Interim-Finanzie-       structuring measures as well as the Interim Fi-
rung müsste die Schuldnerin unverzüglich einen In-     nancing conditional to them, Debtor would
solvenzantrag stellen. Dies würde aller Voraussicht    have to file for insolvency without undue delay.
nach zur Verwertung des an MGG verpfändeten            This would in all probability lead to the liqui-
Vermögens der Schuldnerin – einschließlich ihrer       dation of the assets of Debtor pledged to MGG
Beteiligung an den Gesellschaften der Spark-           – including its shares in the companies of the
Gruppe – führen. Eine solche insolvenzbedingte         Spark Group. Such an insolvency-related liqui-
Verwertung hätte erhebliche negative Auswirkun-        dation would have a significant negative im-
gen auf das operative Geschäft der Schuldnerin,        pact on Debtor’s operating business, could lead
könnte zu einem immensen Reputationsverlust bei        to an immense loss of reputation among its cus-
ihren Kunden führen und erhebliche Wertverluste        tomers and cause significant losses in value,
verursachen, den Verlust von Arbeitsplätzen riskie-    loss of jobs and, due to the comprehensive col-
ren und aufgrund der umfassenden Besicherung zu-       lateralization in favor of MGG, result in a com-
gunsten von MGG bei anderen Gläubigern zu einem        plete loss of claims held by other creditors.
                                                       Such liquidation therefore leaves significantly


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vollständigen Forderungsausfall führen. Eine derar-   lower prospects of satisfaction than in the case
tige Verwertung lässt daher deutlich geringere Be-    of the continuation of the business of Debtor
friedigungsaussichten als im Fall der Fortführung     with the implementation of the measures pro-
des Unternehmens der Schuldnerin unter Umset-         vided for in the Restructuring Plan.
zung der im Restrukturierungsplan vorgesehenen
Maßnahmen.


Das vorliegende Restrukturierungskonzept ist in       The main parts of the proposed restructuring
seinen wesentlichen Teilen das Ergebnis der Ver-      concept are the result of negotiations between
handlungen zwischen den Planbetroffenen Finanz-       the Plan-Affected Financial Creditors and
gläubigern und der Schuldnerin.                       Debtor.


Alle verbundenen Unternehmen der Schuldnerin im       All affiliated entities of Debtor in the meaning
Sinne von § 15 AktG sind Begünstigte dieses Rest-     of Sec. 15 German Stock Corporation Act (Ak-
rukturierungsplans in Bezug auf die Schuldnerin       tiengesetz, “AktG”) may be beneficiaries of
(als oberste Holdinggesellschaft der Spark-Gruppe)    this Restructuring Plan regarding Debtor (be-
und der vom Restrukturierungsgericht zu erlassen-     ing the top-level holding company of Spark
den Beschlüsse. Dies gilt insbesondere für diejeni-   Group) and of the related court orders to be is-
gen Mitglieder der Spark-Gruppe, die gesamt-          sued by the Restructuring Court. This is in par-
schuldnerisch (zusammen mit der Schuldnerin) oder     ticular the case for those members of the Spark
als Garanten für die Darlehensverbindlichkeiten aus   Group that are jointly and severally liable (to-
der Finanzierungsvereinbarung haften. Dies betrifft   gether with Debtor) or as guarantors with re-
die Spark Networks, Inc. und Zoosk, Inc. sowie die    spect to the loan liabilities under the Financing
Spark Networks Services GmbH, Spark Networks          Agreement. This concerns Spark Networks,
USA, LLC, Smooch Labs, Inc., Minglematch, Inc.,       Inc. and Zoosk, Inc. as well as Spark Networks
Spark Networks Limited, und Lov USA, LLC.             Services GmbH, Spark Networks USA, LLC,
                                                      Smooch Labs, Inc., Minglematch, Inc., Spark
                                                      Networks Limited, and Lov USA, LLC.


Die Schuldnerin ist das einzige Unternehmen der       Debtor is the only entity which submits this Re-
Spark-Gruppe, das diesen Restrukturierungsplan        structuring Plan and, thus, which is formally
vorlegt und damit formal Beteiligte des Verfahrens    before the Restructuring Court. Nonetheless,
gemäß StaRUG ist. Dennoch profitieren die übrigen     the other members of the Spark Group (includ-
Mitglieder der Spark-Gruppe unmittelbar von den       ing Spark Networks, Inc. and Zoosk, Inc.) di-
Rechtswirkungen dieses Restrukturierungsplans,        rectly benefit from the legal effects of this Re-
insbesondere von einer Schuldenreduzierung in Be-     structuring Plan, in particular from a debt re-
zug auf Verbindlichkeiten, für die das betreffende    duction with respect to liabilities for which the
Konzernunternehmen Mitschuldner oder Garant ist.      group company concerned is a co-borrower or
Aus diesem Grund sind auch Spark Networks, Inc.       a guarantor. For this reason, also Spark Net-
and Zoosk, Inc. (zusammen mit den Kreditgaranten)     works, Inc. and Zoosk, Inc. (along with the loan
                                                      guarantors) are subject to this Restructuring


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von diesem Restrukturierungsplan betroffen. Im Zu-    Plan: In connection with this Restructuring
sammenhang mit diesem Restrukturierungsplan           Plan, also those entities that are not the formal
wirken die Beschlüsse des Restrukturierungsge-        applicant with respect to this Restructuring
richts auch zu Gunsten derjenigen Gesellschaften      Plan benefit from the orders of the Restructur-
der Spark-Gruppe, die nicht der formale Antragstel-   ing Court; generally speaking, all of the afore-
ler im Hinblick auf diesen Restrukturierungsplan      mentioned entities are subject to the jurisdic-
sind; allgemein gesprochen sind sämtliche der o. g.   tion of the Restructuring Court in this respect.
Gesellschaften insoweit von der Entscheidungsge-
walt des Restrukturierungsgerichts betroffen.




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B.      Darstellender Teil                              B.    Descriptive Part


I.      Schuldnerbezogene Angaben                       I.    Debtor-related information


1.      Firma, Sitz, Adresse                            1.    Company name, registered office, ad-
                                                              dress


Die Schuldnerin hat die Rechtsform einer europäi-       The Debtor has the legal form of a European
schen Aktiengesellschaft (Societas Europaea) und        public limited-liability company (Societas Eu-
führt die Firma                                         ropaea) and has the corporate name


                  Spark Networks SE.                                  Spark Networks SE.


Satzungsgemäßer Sitz der Schuldnerin ist München,       The registered office of Debtor is Munich, Ger-
Deutschland. Ihre Hauptverwaltung befindet sich in      many. Its head office is located at Kohlfurter
der Kohlfurter Straße 41/43, 10999 Berlin, Deutsch-     Straße 41/43, 10999 Berlin, Germany.
land.


2.      Registergericht, Registernummer, Grund-         2.    Commercial register, register num-
        kapital                                               ber, registered share capital


Die Schuldnerin ist im Handelsregister des Amtsge-      Debtor is registered with the commercial regis-
richts München unter HRB 232591 eingetragen.            ter of the Local Court of Munich under register
                                                        number HRB 232591.


Das     Grundkapital    der     Schuldnerin   beträgt   The share capital of Debtor amounts to
EUR 2.661.385,00. Es ist in 2.661.385 auf den Na-       EUR 2,661,385.00. It is subdivided into
men lautende Stückaktien eingeteilt.                    2,661,385 registered no-par value shares.


3.      Gesetzliche Vertreter                           3.    Legal representatives


Die Schuldnerin hat gemäß § 6 der Satzung eine          Debtor has a one-tier management and admin-
monistische Unternehmensleitungs- und Kontroll-         istrative system.
struktur.




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Die folgenden geschäftsführenden Direktoren füh-         The following managing directors are manag-
ren die Geschäfte der Schuldnerin, indem sie die         ing Debtor by implementing the principles and
Grundlinien und Vorgaben umsetzen, die der Ver-          guidelines established by the administrative
waltungsrat der Schuldnerin aufstellt:                   board of Debtor:


       Colleen Brown, Vereinigte Staaten, 4. Au-             Colleen Brown, United States, August 4,
        gust 1958;                                             1958;


       Kristie   Goodgion,   Vereinigte      Staaten,        Kristie    Goodgion,     United      States,
        14. April 1979.                                        April 14, 1979.


4.      Unternehmensgegenstand                           4.    Object and purpose of business


Gegenstand der Schuldnerin ist gemäß § 3 der Sat-        The object and purpose of Debtor according to
zung die Beteiligung an und die Gründung sowie die       § 3 of the articles of association is the invest-
Leitung von Unternehmen oder die Verwaltung von          ment in as well as the establishment and man-
Beteiligungen an Unternehmen sowie die Bereitstel-       aging of companies or the administration of eq-
lung von Verwaltungs- und Holdingsfunktionen für         uity interests in companies as well as the pro-
diese Beteiligungsunternehmen, die in folgenden          vision of administrative and holding functions
Geschäftsfeldern oder Teilbereichen davon tätig          for its affiliated companies that operate in the
sind:                                                    following business areas or parts thereof:


       der Betrieb und die Erbringung von Online-            the operation and the provision of ser-
        diensten in den Bereichen Partnervermitt-              vices in particular in the areas of match-
        lung, Dating und Kontaktanbahnung;                     making, dating and contact initiation;


       die Entwicklung, der Betrieb und das Ver-             the development, operation and market-
        markten von Software, die Wartung von Kon-             ing of software, maintenance of net-
        taktnetzwerken, das Design und die Herstel-            works of contacts, design and creation of
        lung von Computerprogrammen zur Daten-                 computer programs for data processing
        verarbeitung und -verfolgung;                          and tracking;


       das Design und die Errichtung von Home-               the design and creation of homepages
        pages und Internetseiten, Kommunikations-              and internet web sites, communication
        diensten und Unterhaltungsdiensten;                    services and entertainment services;


       das Veranstalten und Durchführen von ge-              The arranging and conducting of social
        sellschaftlichen Events, Werbungs- und Ver-            events, advertising and marketing ser-
        marktungsdiensten und E-Commerce-Tätig-                vices and e-commerce activity.
        keit.


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Die Schuldnerin kann in den genannten Geschäfts-        Debtor is entitled to carry out itself activities
feldern auch selbst tätig werden. Sie ist berechtigt,   and operations in the aforementioned lines of
alle Geschäfte und Maßnahmen vorzunehmen, die           business. It is entitled to carry out all transac-
mit den vorstehenden Tätigkeitsgebieten in Zusam-       tions and actions which are related to the afore-
menhang stehen oder sonst geeignet sind, dem Ge-        mentioned lines of business or otherwise ap-
sellschaftszweck der Schuldnerin unmittelbar oder       propriate to serve directly or indirectly the ob-
mittelbar zu dienen.                                    jects of Debtor.


5.    Aktionärsstruktur                                 5.    Shareholder structure


Die Schuldnerin hat gemäß § 6 Abs. 1 ihrer Satzung      Pursuant to Sec. 6 (1) of its Articles of Associ-
Namensaktien im Sinne von § 67 AktG ausgegeben.         ation, Debtor has issued registered shares
Das von der Schuldnerin geführte Aktienregister         within the meaning of Sec. 67 AktG. The share
weist aktuell sieben Aktionäre auf. Von den             register kept by the Debtor currently shows
2.661.385 auf den Namen lautenden Stückaktien           seven shareholders. Of the 2,661,385 regis-
werden derzeit 37.600 von der Schuldnerin als           tered shares, 37,600 are held by Debtor as
eigene Aktien gehalten.                                 treasury shares.


Die Aktien der Schuldnerin waren im Rahmen einer        The shares of Debtor were listed on the Nasdaq
sog. American Depository Shares („ADS“)-Struktur        Capital Market, New York, USA, as part of a
an dem Nasdaq Capital Market, New York, USA,            so-called    American      Depository       Shares
gelistet. Dabei wurden die Aktien der Schuldnerin       (“ADS”) structure. The shares of the Debtor
nicht selbst gehandelt, sondern ein Teil der Aktien     were not traded themselves but a part of the
vermittelt über sog. American Depository Receipts       shares brokered via so-called American Depos-
(„ADRs“). Diese ADRs werden von einer US-               itory Receipts (“ADRs”). These ADRs are is-
Bank, welche einen Teil der eigentlichen Aktien         sued by a US bank, which holds a part of the
hält, als Wertpapierzertifikat für die von ihr gehal-   the shares, as a securities certificate for the
tenen Aktien an der Emittentin ausgestellt. Ein         shares it holds in the issuer. An ADR certificate
ADR-Zertifikat repräsentiert eine Aktie (oder einen     represents one share (or a fraction of a share)
Bruchteil einer Aktie) der jeweiligen ausländischen     of the respective foreign issuer and is traded on
Emittentin und wird an der US-amerikanischen            the U.S. stock exchange. Such structures are set
Börse gehandelt. Derartige Strukturen werden auf-       up because the settlement of ADRs in the U.S.
gesetzt, da die Wertpapierabwicklung (settlement)       is much smoother than that of German shares.
von ADRs in den USA wesentlich reibungsloser            In accordance with Debtor's ADR program,
funktioniert   als     von   deutschen   Aktien.   In   each ADR represents one tenth of Debtor’s or-
Übereinstimmung mit dem ADR-Programm der                dinary shares. In the meantime, the stock ex-
Schuldnerin repräsentiert jedes ADR ein Zehntel         change listing of the ADRs has been delisted
der Stammaktie der Schuldnerin. Mittlerweile            (so-called delisting). Since then, the ADSs
wurde die Börsennotierung der ADR aufgehoben            have been traded “over the counter” (“OTC”)
(sog. Delisting). Seither werden die ADS „over the


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counter“ („OTC“) am OTCQX® Best Market unter           on the OTCQX® Best Market under the desig-
der Kennzeichnung LOVLY gehandelt.                     nation LOVLY.


6.     Finanzierungsstruktur                           6.    Financing structure


Die Spark-Gruppe finanziert sich hauptsächlich         Spark Group mainly finances itself through the
über    das   MGG-Darlehen       in    Höhe     von    MGG       Loan      in     the     amount            of
USD 100.000.000,00. Daneben hat die Schuldnerin        USD 100,000,000.00. In addition, as of Sep-
mit Stand zum 30. September 2023 Verbindlichkei-       tember 30, 2023, Debtor has intercompany
ten aus konzerninterner Finanzierung in Höhe von       loan payables of USD 59,103,547.57, which
USD 59.103.547,57. Dem stehen Forderungen der          are offset by intercompany loan receivables of
Schuldnerin in Höhe von USD 159.565,98 gegen-          USD 159,565.98 from Debtor's subsidiaries.
über ihren Tochtergesellschaften gegenüber.


II.    Verfahrensbezogene Angaben                      II.   Procedure-related information


1.     Zugangsvoraussetzungen des StaRUG               1.    Entry requirements of StaRUG


Die Schuldnerin ist drohend zahlungsunfähig und        Debtor is threatened with insolvency and can
kann daher gemäß § 29 Abs. 1 StaRUG die Verfah-        therefore take advantage of the procedural as-
renshilfen des Stabilisierungs- und Restrukturie-      sistance provided by the stabilization and re-
rungsrahmens in Anspruch nehmen. Ohne diese In-        structuring framework pursuant to Sec. 29 (1)
anspruchnahme und die auf die Durchführung des         StaRUG. Without this utilization and the In-
Restrukturierungsverfahrens bedingte Interim-Fi-       terim Financing conditional to the implementa-
nanzierung wäre die Schuldnerin nicht in der Lage,     tion of the restructuring proceedings, Debtor
ihre Verbindlichkeiten innerhalb des Prognosezeit-     would not be able to pay its liabilities within
raums des § 18 Abs. 2 InsO zu bedienen, zumal mit      the forecast period of Sec. 18 (2) of the German
einer sofortigen Fälligstellung des MGG-Darlehens      Insolvency Code (“InsO”), especially since an
gerechnet werden müsste. Diesbezüglich wird auf        immediate repayment of the MGG Loan would
die als Anlage 1 beigefügte Liquiditätsplanung (un-    have to be expected. In this regard, reference is
ter Außerachtlassung der Planmaßnahmen und der         made to the liquidity planning (not considering
auf die Durchführung des Restrukturierungsverfah-      the plan measures and the Interim Financing
rens bedingten Interim-Finanzierung) verwiesen.        conditional on the implementation of the re-
Ferner wird auf die Darstellung der wirtschaftlichen   structuring proceedings) attached as Annex 1.
Verhältnisse der Schuldnerin unter B.III.1. verwie-    Furthermore, reference is made to the descrip-
sen.                                                   tion of the economic circumstances of the
                                                       Debtor under B.III.1.


Die Schuldnerin trifft aktuell keine Insolvenzan-      Debtor is currently not obliged to file for insol-
tragspflicht. Sie ist weder zahlungsunfähig im Sinne   vency. It is neither insolvent within the mean-
des § 17 InsO noch überschuldet im Sinne des § 19      ing of Sec. 17 InsO nor overindebted within the


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InsO.    Zur    Widerlegung        einer      etwaigen   meaning of Sec. 19 InsO. In order to refute any
Zahlungsunfähigkeit wird zum einen auf den aus           inability to pay, reference is made to the liquid-
Anlage 2 folgenden Liquiditätsplan zum Zeitpunkt         ity planning at the time of submission of the
der Planvorlage verwiesen. Die Liquidität der            Restructuring Plan as shown in Annex 2. The
Schuldnerin als Holdinggesellschaft ergibt sich          liquidity of Debtor as a holding company is de-
hierbei aus der Liquidität ihrer operativen Tochter-     rived from the liquidity of its operating subsid-
gesellschaften. Aus diesem Grund wird dem Rest-          iaries. For this reason, the Restructuring Plan is
rukturierungsplan neben einem Liquiditätsstatus auf      not only supplemented by a liquidity status at
Einzelgesellschaftsebene auch ein konsolidierter Li-     individual company level, but also by a consol-
quiditätsstatus auf Gruppenebene zum Nachweis            idated liquidity status at Spark Group level to
der Zahlungsfähigkeit beigefügt.                         demonstrate solvency.


Zum anderen gewährt MGG der Schuldnerin die In-          On the other hand, MGG is granting Debtor In-
terim-Finanzierung in Form eines Kreditrahmens,          terim Financing in the form of a credit facility,
dessen Nutzung an den Liquiditätsbedarf und das          the use of which is linked to liquidity needs and
Erreichen bestimmter Verfahrensschritte des Sta-         the achievement of certain procedural steps in
RUG-Verfahrens     geknüpft     ist. Während       des   the StaRUG proceedings. Debtor thus has suf-
StaRUG-Verfahrens stehen der Schuldnerin somit           ficient liquid funds at its disposal during the
hinreichende liquide Mittel zur Verfügung. Im Rah-       StaRUG proceedings. Under the forbearance
men der Stillhalte- und Zwischenfinanzierungsver-        and interim loan agreement, MGG has also de-
einbarung hat MGG zudem erklärt, die laut der Fi-        clared that it will not exercise its termination
nanzierungsvereinbarung       eingetretenen    Kündi-    rights under the Financing Agreement during
gungsrechte während der Durchführung des Sta-            the implementation of the StaRUG proceed-
RUG-Verfahrens nicht auszuüben.                          ings.


Eine    insolvenzrechtliche    Überschuldung       der   Debtor is currently not overindebted under in-
Schuldnerin im Sinne von § 19 InsO besteht aktuell       solvency law within the meaning of Sec. 19
nicht, da unter Berücksichtigung der Maßnahmen           InsO because, considering the measures of the
des Restrukturierungsplans (vgl. Begründung zu           Restructuring Plan (cf. explanatory memoran-
§ 34 Abs. 3 StaRUG-RegE, BT-Drucks. 19/24181,            dum to Sec. 34 (3) StaRUG-RegE, BT-
S. 137) eine positive Fortbestehensprognose be-          Drucks. 19/24181, p. 137), there is a positive
steht. Ein Zustandekommen des Restrukturierungs-         prognosis for its continued existence. Debtor
plans und seine plangemäße Umsetzung sind nach           believes that it is highly likely that the Restruc-
Einschätzung der Schuldnerin überwiegend wahr-           turing Plan will be implemented as planned, as
scheinlich, da das Restrukturierungsvorhaben mit         the restructuring project will be carried out
Unterstützung des Großgläubigers MGG durchge-            with the support of the main creditor, MGG.
führt wird.


Schließlich wird auf die als Anlage 3 beigefügte Er-     Finally, reference is made to the statement of
klärung zur Bestandsfähigkeit gemäß § 14 Abs. 1          viability according to Sec. 14 (1) StaRUG at-
StaRUG verwiesen.                                        tached as Annex 3.


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2.    Restrukturierungsgericht, Aktenzeichen         2.    Restructuring Court, case number


Die Anzeige des Restrukturierungsvorhabens er-       Notification of the restructuring project was
folgte beim Amtsgericht Charlottenburg – Restruk-    made to the Local Court Charlottenburg – Re-
turierungsgericht –.   Die Restrukturierungssache    structuring Court –. The restructuring case is
wird unter dem Aktenzeichen 36s RES 6525/23 ge-      filed under case number 36s RES 6525/23.
führt. Frühere Restrukturierungssachen betreffend    Prior restructuring cases with regard to Debtor
die Schuldnerin existieren nicht.                    do not exist.


3.     Restrukturierungsbeauftragter                 3.    Restructuring officer


Das Amtsgericht Charlottenburg – Restrukturie-       By court order dated October 30, 2023, the Lo-
rungsgericht – bestellte mit Beschluss vom 30. Ok-   cal   Court     Charlottenburg   – Restructuring
tober 2023                                           Court – appointed


      Dr. Philipp Hackländer                               Dr. Philipp Hackländer
      c/o White & Case Insolvenz GbR                       c/o White & Case Insolvenz GbR
      John F. Kennedy-Haus                                 John F. Kennedy-Haus
      Rahel Hirsch-Straße 10                               Rahel-Hirsch-Straße 10
      10557 Berlin                                         10557 Berlin


zum Restrukturierungsbeauftragten.                   as restructuring officer.


III. Unternehmens- und krisenbezogene Anga-          III. Business and crisis-related infor-
      ben                                                  mation


1.    Wirtschaftliche Situation des Schuldners       1.    Economic situation of the debtor and
      und Krisenanalyse                                    crisis analysis


a)    Allgemeine Informationen                       a)    General information


Schuldnerin ist die oberste Muttergesellschaft der   Debtor is the ultimate parent of “Spark
„Spark-Gruppe“ (näher zu dieser unter nachste-       Group” (as further described under Sec-
hendem Abschnitt B.III.4.) und übt ausschließlich    tion B.III.4. below) and has holding functions
Holdingfunktionen aus.                               solely.


Die wichtigsten Tochtergesellschaften sind Spark     The main subsidiaries consist of Spark Net-
Networks Services GmbH, eine Gesellschaft mit be-    works Services GmbH, a limited liability com-
schränkter Haftung deutschen Rechts, Spark Net-      pany under German law, Spark Networks, Inc.,
                                                     a limited liability company under the laws of


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works, Inc., eine Gesellschaft mit beschränkter Haf-   Delaware, and Zoosk, Inc., a limited liability
tung nach dem Recht des US-Bundesstaates Dela-         company under the laws of Delaware.
ware, und Zoosk, Inc., eine Gesellschaft mit be-
schränkter Haftung nach dem Recht des US-Bun-
desstaates Delaware.


Die Spark-Gruppe ist gemessen am Umsatz das            Spark Group is the fourth largest online dating
viertgrößte Online-Dating-Unternehmen in Nord-         company across North America and Europe by
amerika und Europa. Die Spark-Gruppe fokussiert        revenue. The Spark Group focuses on the de-
sich auf die demographische Gruppe der über 40-        mographic group of age over 40 and faith-
Jährigen und auf glaubensbasierte Beziehungen. Sie     based affiliations. It operates a portfolio of sev-
unterhält ein Portfolio mehrerer Plattform-Marken,     eral brands accessible to customers across the
die für Kunden weltweit zugänglich sind. Der der-      globe. The current focus is on the USA. The
zeitige Schwerpunkt liegt in den USA. Die wich-        main brands of Spark Group comprise Zoosk
tigsten Plattform-Marken der Spark-Gruppe umfas-       as well as Elite Singles and Silver Singles,
sen Zoosk, Elite Singles und Silver Singles, welche    which mainly target the Northern American
hauptsächlich auf den nordamerikanischen Markt         markets.
abzielen.


b)    Erwerb von Zoosk, Inc. in 2019                   b)      Acquisition of Zoosk, Inc. in 2019


Im Laufe des Jahres 2019 erwarb die Spark-Gruppe       In the course of 2019, Spark Group acquired all
sämtliche Anteile an Zoosk, Inc., einer Gesellschaft   shares of Zoosk, Inc., a Delaware corporation.
mit beschränkter Haftung nach dem Recht des US-        The acquisition was financed by a loan facility.
Bundesstaates Delaware. Der Erwerb wurde fremd-        The loan facility was refinanced on March 11,
finanziert. Die Fremdfinanzierung wurde am             2022,      by     the     MGG         Loan           of
11. März 2022 durch das MGG-Darlehen über              USD 100,000,000.00. Borrowers of the MGG
USD 100.000.000,00 refinanziert. Darlehensneh-         Loan are Debtor, Spark Networks, Inc. and
mer sind die Schuldnerin, Spark Networks, Inc. und     Zoosk, Inc. Additionally, the following subsid-
Zoosk, Inc. Zusätzlich traten folgende Tochterge-      iaries of Debtor entered into the Financing
sellschaften der Schuldnerin der Finanzierungsver-     Agreement with MGG to act as guarantors:
einbarung mit MGG als Garanten bei: Spark Net-         Spark Networks Services GmbH, Spark Net-
works Services GmbH, Spark Networks USA, LLC,          works USA, LLC, Smooch Labs, Inc., Mingle-
Smooch Labs, Inc., Minglematch, Inc., Spark Net-       match, Inc., Spark Networks Limited, LOV
works Limited, LOV USA, LLC. Das MGG-Darle-            USA, LLC. Borrowings under the MGG Loan
hen wurde ursprünglich mit einem jährlichen Zins-      originally accrued interest at a rate per annum
satz verzinst, der dem britischen London Inter-Bank    equal to the British London Inter-Bank Offered
Offered     Rate,   kurz   LIBOR-Satz,    zuzüglich    Rate, short LIBOR rate, plus 7.50 percentage
7,50 Prozentpunkte bzw. dem Referenzsatz (wie in       points or the Reference Rate (as defined in the
der Finanzierungsvereinbarung definiert) zuzüglich     Financing Agreement), plus 6.50 percentage
6,50 Prozentpunkte entspricht. Im Zuge mehrerer


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Stillhaltevereinbarungen wurde der Zinssatz inzwi-     points as the case may be. In the course of sev-
schen auf den US-amerikanischen Referenzzinssatz       eral forbearance agreements, the interest rate
SOFR zuzüglich 10,5 Prozentpunkte erhöht. Das          has been increased to the U.S. reference rate
MGG-Darlehen ist nach ursprünglicher Finanzie-         SOFR plus 10.5 percentage points. The MGG
rungsvereinbarung seit 30. Juni 2023 bis 11. März      Loan is under the original Financing Agree-
2027 in vierteljährlichen Tilgungsraten zur Rück-      ment due for repayment in quarterly install-
zahlung fällig und ist im Wesentlichen durch das ge-   ments from June 30, 2023 until March 11,
samte Vermögen der Schuldnerin, Spark Networks,        2027, and is secured by substantially all of the
Inc., Zoosk, Inc. sowie deren jeweilige Tochterge-     assets of Debtor, Spark Networks, Inc., Zoosk,
sellschaften als Garanten besichert.                   Inc. and their respective subsidiary guarantors.


Die Anteile an diversen Gesellschaften der Spark-      The shares of several of the Spark Group enti-
Gruppe wurden als Sicherheiten für das MGG-Dar-        ties have been pledged to MGG as collateral for
lehen an MGG verpfändet. Pfandgläubiger ist MGG        the MGG Loan. The pledges are held by MGG
Investment Group LP als Sicherheitenagent für die      Investment Group LP as collateral agent of the
darlehensgebenden MGG-Gesellschaften. Einige           lending MGG entities. Certain of the entities
Unternehmen der Spark-Gruppe haben ebenfalls Si-       within the Spark Group have also entered into
cherungsverträge nach New Yorker, englischem           all asset security documents, governed by New
und deutschem Recht abgeschlossen, in denen sie        York, English and German law, as applicable,
ein Sicherungsrecht an ihren gesamten Vermögens-       pursuant to which they have granted a lien over
werten zur Besicherung des MGG-Darlehens einge-        substantially all of their assets as collateral for
räumt haben.                                           the MGG Loan.


c)    Krisenanalyse – Wirtschaftliche Lage der         c)       Crisis analysis – Economic situation of
      Spark-Gruppe                                              Spark Group


Seit dem Geschäftsjahr 2020 sind die Umsätze und       Since the financial year 2020, the Spark
das Ergebnis der Spark-Gruppe rückläufig. Die          Group’s revenue and earnings have been de-
Spark-Gruppe sieht die Hauptursache für den Rück-      clining. The Spark Group attributes the main
lauf in einer unzureichenden Marketingstrategie,       reason for the decline to insufficient marketing
technischen Schwierigkeiten im Umgang mit den          strategy, technical difficulties in handling the
wesentlichen Applikationen bedingt durch den Wis-      main applications due to the knowledge run-off
sens-Abfluss resultierend aus der personellen Neu-     resulting from the personnel realignment in
ausrichtung der Vorjahre sowie dem Umgang mit          previous years and the handling of fraud pro-
Betrugsprofilen und weiteren Cyber-Angriffen auf       files and further cyber-attacks on the platforms.
die Plattformen. Ineffiziente Marketingausgaben        Inefficient marketing spend has led to declin-
haben zu einem Rückgang der Abonnenten bei allen       ing subscribers across the brands which has re-
Marken geführt, was in den letzten drei Jahren zu      sulted in a reduction of Spark Group’s cash
einem Rückgang des Cashflows und der Gewinn-           flow and profit margins over the last three
margen der Spark-Gruppe geführt hat.                   years.



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Die Spark-Gruppe finanziert sich hauptsächlich       Spark Group mainly finances itself through the
über   das    MGG-Darlehen      in   Höhe     von    MGG       Loan     in     the    amount            of
USD 100.000.000,00.                                  USD 100,000,000.00.


Aufgrund des Kapitaldienstes und hohen Abschrei-     Due to debt service and high depreciation and
bungen im Jahr 2020 im Zusammenhang mit der Fi-      amortization in 2020 in connection with the fi-
nanzierung der Übernahme der Zoosk, Inc. durch       nancing of the acquisition of Zoosk, Inc. by the
die Spark-Gruppe waren die Jahresergebnisse der      Spark Group, the Spark Group’s operating re-
Spark-Gruppe seit dem Geschäftsjahr 2020 durch-      sults have been consistently negative since the
gehend negativ. Die kumulierten Verluste in den      financial year 2020. The accumulated losses in
Geschäftsjahren von 2020 bis 2022 betrugen rund      the financial years from 2020 to 2022
USD 158.953.000.                                     amounted to approx. USD 158,953,000.


Bedingt durch die rückläufigen Ergebnisse war der    Due to the declining earnings the operative
operative Cash Flow im Geschäftsjahr 2022 negativ    cash flow has been negative in the financial
und nicht ausreichend, um diverse Covenants ge-      year 2022 and not sufficient to enable Spark
mäß der Finanzierungsvereinbarung zu erfüllen. Im    Group to comply with various covenants in the
Zeitraum vom 31. Dezember 2020 bis zum 30. Sep-      Financing Agreement. During the period from
tember 2023 wurde der Barmittelbestand innerhalb     December 31, 2020, to September 30, 2023,
der Spark-Gruppe um USD 15.500.000 verbraucht.       cash reserves of Spark Group have been re-
                                                     duced by USD 15,500,000.




Zum Zeitpunkt der Veröffentlichung des IFRS-Ab-      As of the date of the filing of the December 31,
schlusses der Spark-Gruppe zum 31. Dezember          2022 IFRS financial statements, Spark Group’s
2022 enthielt der Prüfungsbericht der unabhängigen   independent    registered public    accounting
Wirtschaftsprüfungsgesellschaft der Spark-Gruppe     firm’s report contained an explanatory para-
                                                     graph that expresses substantial doubt about

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einen erläuternden Absatz, in dem erhebliche Zwei-     Spark Group’s ability to continue as a “going
fel an der Fähigkeit der Spark-Gruppe zur Fortfüh-     concern” within one year after the date that the
rung der Geschäftstätigkeit innerhalb eines Jahres     financial statements were issued. Principal
nach der Veröffentlichung des Abschlusses geäu-        conditions and events leading to this conclu-
ßert wurden. Die wichtigsten Umstände, die zu die-     sion were that Spark Group has generated re-
ser Schlussfolgerung führten, waren die Tatsache,      curring losses from operations, continued de-
dass das Unternehmen wiederkehrende Verluste aus       cline in revenues, incurred impairment charges
dem operativen Geschäft erwirtschaftet hat, ein an-    to its Zoosk goodwill and intangible assets,
haltender Rückgang der Einnahmen, Wertminde-           cash outflows from operations and has a work-
rungen des Zoosk-Firmenwerts und der immateriel-       ing capital deficiency.
len Vermögenswerte, Mittelabflüsse aus dem opera-
tiven Geschäft und ein Defizit im Umlaufvermögen.


Die in dem erläuternden Absatz des Berichts der        The issuance of an opinion with an explanatory
Wirtschaftsprüfungsgesellschaft geäußerten erheb-      paragraph expressing substantial doubt about
lichen Zweifel an der Fortführungsfähigkeit der        the ability of Debtor and its subsidiaries to con-
Schuldnerin und ihrer Tochtergesellschaften führten    tinue as a going concern caused Spark Group
dazu, dass die Spark-Gruppe bestimmte Verpflich-       to fail to comply with certain obligations of the
tungen aus der Finanzierungsvereinbarung mit           Financing Agreement with MGG. This eventu-
MGG nicht einhielt. Dies erlaubte es MGG, sämtli-      ally permitted MGG to exercise all rights and
che Rechte im Rahmen der Finanzierungsvereinba-        remedies under the Financing Agreement, in-
rung auszuüben, einschließlich, das MGG-Darlehen       cluding declaring all or any portion of the
ganz oder teilweise fällig zu stellen. Infolgedessen   MGG Loan outstanding to be accelerated and
war das Unternehmen nach IFRS verpflichtet, das        due and payable. As a result, Spark Group was
MGG-Darlehen als kurzfristige Verbindlichkeit, die     required, under IFRS, to reclassify the MGG
von den Kreditgebern jederzeit für fällig erklärt      Loan as a short-term liability, which is subject
werden kann, auszuweisen. Die Spark-Gruppe er-         to be declared due by the lenders at any point
füllt keine der in der Finanzierungsvereinbarung       in time. The Spark Group is not in compliance
festgelegten Covenants mehr.                           with all of the covenants in the Financing
                                                       Agreement.


Aufgrund der anhaltenden Verletzung mehrerer           Because of its continuing covenant default,
Covenants gemäß der Finanzierungsvereinbarung          Spark Group has negotiated several amend-
schloss die Spark-Gruppe diverse Nachträge und         ments to the Financing Agreement and multi-
Stillhaltevereinbarungen hinsichtlich des MGG-         ple forbearance agreements with respect
Darlehens ab (ausführlich hierzu unter nachstehen-     thereto (see      more     detailed    under      Sec-
dem Abschnitt B.III.1.e)). In diesem Zusammen-         tion B.III.1.e) below). In connection with that
hang holte die Spark-Gruppe ein Sanierungsgutach-      process, Spark Group obtained a restructuring
ten von Ernst & Young GmbH Wirtschaftsprü-             opinion    from    Ernst     &   Young         GmbH
fungsgesellschaft Strategy and Transactions ein,       Wirtschaftsprüfungsgesellschaft Strategy and
                                                       Transactions based on IDW S6 and taking into


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welches in Anlehnung an IDW S6 und unter Be-              account the highest court rulings. The restruc-
rücksichtigung der höchstrichterlichen Rechtspre-         turing opinion dated August 11, 2023, detected
chung erstellt wurde. Das Sanierungsgutachten vom         a funding demand of Debtor in an amount of
11. August 2023 wies einen Finanzierungsbedarf            USD 20,000,000 to be made preferably in eq-
der Schuldnerin in Höhe von USD 20.000.000 aus,           uity.
der vorzugsweise über eine Eigenkapitaleinlage be-
friedigt werden solle.


Die Ungewissheit, ob die Spark-Gruppe in der Lage         Uncertainty regarding Spark Group’s ability to
ist, ihren Geschäftsbetrieb fortzuführen, hat zu we-      continue as a going concern has resulted in ma-
sentlichen und negativen Auswirkungen auf den             terial and adverse impacts on the price of its
Aktienkurs der Schuldnerin geführt, was sich wie-         common stock, negatively impacting its ability
derum negativ auf die Fähigkeit der Spark-Gruppe          to raise sufficient funds for operations and con-
auswirkt, ausreichende Finanzmittel für den Ge-           tinue as a going concern.
schäftsbetrieb aufzubringen und den Geschäftsbe-
trieb fortzuführen.


Die   Spark-Gruppe       hat   kürzlich   wesentliche     Spark Group previously identified material
Schwachstellen in ihrem internen Kontrollsystem           weaknesses in its internal control over financial
für die Finanzberichterstattung festgestellt. Die         reporting. Spark Group believes that its inabil-
Spark-Gruppe ist der Ansicht, dass das Unvermö-           ity to maintain an effective system of internal
gen, ein wirksames System der internen Kontrolle          control over financial reporting has adversely
über die Finanzberichterstattung zu unterhalten, das      affected investor confidence in Spark Group’s
Vertrauen der Anleger in die Fähigkeit der Spark-         ability to report accurately its financial condi-
Gruppe, ihre Finanzlage, Betriebsergebnisse und           tion, results of operations and cash flows.
Cashflows korrekt zu berichten, beeinträchtigt hat.


d)    Krisenanalyse – Wirtschaftliche Lage der            d)      Crisis analysis – Economic situation of
      Schuldnerin                                                 Debtor


Die Schuldnerin befindet sich gegenwärtig in einer        Debtor is currently in a profitability and liquid-
Ergebnis- und Liquiditätskrise, hat aber grundle-         ity crisis, but has initiated fundamental operat-
gende operative und finanzielle Umstrukturierungs-        ing and financial restructuring measures to
maßnahmen eingeleitet, um den Turnaround zu               achieve a turnaround. Those restructuring
schaffen.    Diese    Umstrukturierungsmaßnahmen          measures are further described in Sec-
werden in nachfolgendem Abschnitt B.IV.1. näher           tion B.IV.1. below.
beschrieben.


Die Schuldnerin hat kein eigenständiges operatives        Debtor has no stand-alone operations. It only
Geschäft. Sie erbringt lediglich administrative Leis-     provides administrative services for companies
tungen für Gesellschaften der Spark-Gruppe.               of the Spark Group.


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Die wesentlichen Vermögenswerte der Schuldnerin       The main assets of Debtor comprise sharehold-
umfassen die Beteiligungen an der Spark Networks,     ings in Spark Network Services, Inc. and Spark
Inc. und der Spark Network Services GmbH, die in      Network Services GmbH, which were subject
den Geschäftsjahren 2020 bis September 2023 we-       to material depreciation in the financial years
sentlichen Abschreibungen unterlagen und zusam-       2020 through September 2023 and by Septem-
men zum Stichtag 30. September 2023 noch mit ei-      ber 30, 2023, are shown with a book value of
nem Buchwert in Höhe von USD 184.661.543,84 in        USD 184,661,543.84 in Debtor’s US GAAP fi-
der US-GAAP-Bilanz der Schuldnerin erfasst sind.      nancial statements. Current assets of Debtor
Das   Umlaufvermögen      der   Schuldnerin    zum    amount to USD 4,895,560.53 by Septem-
30. September 2023 beträgt USD 4.895.560,53.          ber 30, 2023.


e)    Anpassung der Finanzierungsvereinba-            e)    Modification of the Financing Agree-
      rung mit MGG als Folge der Krise und                  ment with MGG as consequence of the
      weitere      Restrukturierungsmaßnahmen               crisis    and    other     restructuring
      vor dem StaRUG-Verfahren                              measures pre-StaRUG


Als sich der Zustand des Geschäftsbetriebs ver-       As operations degraded, Debtor’s administra-
schlechterte, formulierten, bewerteten und imple-     tive board and management team formulated,
mentierten der Verwaltungsrat und das Manage-         evaluated and implemented numerous cost re-
mentteam der Schuldnerin zahlreiche Maßnahmen         duction and revenue enhancement actions in an
zur Kostensenkung und Umsatzsteigerung, um die        attempt to enhance liquidity and de-lever the
Liquidität zu verbessern und das Unternehmen zu       company. Unfortunately, these actions proved
entschulden. Leider erwiesen sich diese Maßnah-       insufficient to prevent the continued decline of
men als unzureichend, um den anhaltenden Rück-        the Spark Group’s operations.
gang des Geschäftsbetriebs der Spark-Gruppe zu
verhindern.


Im Zeitraum von Juli 2022 bis Februar 2023 trieb      Between July 2022 and February 2023, the
die Spark-Gruppe einen möglichen Verkauf ihrer        Spark Group entertained a potential sale of sub-
gesamten      Vermögensgegenstände    voran.   Der    stantially all of its assets. The M&A process
M&A-Prozess wurde durch eine weltweit agierende       was conducted by a global investment bank
Investment Bank (Moelis & Company) im Auftrag         (Moelis & Company) retained by Debtor,
der Schuldnerin durchgeführt und hierbei nahezu       reaching out to nearly 100 potential strategic
100 potenzielle Finanz- und strategische Investoren   and financial investors. Five separate potential
angesprochen. Fünf verschiedene potenzielle Käu-      buyers showed initial interest. The Spark
fer meldeten anfängliches Interesse an. Die Ge-       Group’s management and the investment bank
schäftsleitung der Spark-Gruppe und die Invest-       actively engaged each of the five potential buy-
mentbank führten aktiv mit jedem der fünf potenzi-    ers, held numerous meetings, and provided ac-
ellen Käufer Verhandlungen, hielten zahlreiche        cess to a data room with robust diligence. Ulti-
Treffen ab und gewährten Zugang zu einem Daten-       mately, after further discussion and diligence,
                                                      each potential buyer withdrew their proposal

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raum, in dem die potenziellen Käufer eine umfas-      (none of which were ever specified in more de-
sende Prüfung vornehmen konnten. Nach weiteren        tail through a term sheet). None of these afore-
Gesprächen und Prüfungen zogen schließlich alle       mentioned proposals would ever have covered
potenziellen Käufer ihre Angebote zurück (von de-     the outstanding debt of the MGG Loan and,
nen keines jemals in einem Term Sheet näher spezi-    therefore, none of them would have resulted in
fiziert wurde). Keines der genannten Angebote hätte   a positive equity purchase price. Ultimately, no
die ausstehenden Verbindlichkeiten unter dem          potential buyer was willing to enter into a de-
MGG-Darlehen abgedeckt und somit zu einem po-         finitive agreement to acquire Spark Group.
sitiven Kaufpreis für das Eigenkapital geführt.       Consequently, Spark Group was left with no
Letztendlich war somit keiner der potenziellen Käu-   entity interested in purchasing some or all of
fer bereit, eine endgültige Vereinbarung zum Er-      Spark Group’s assets, in spite of the time and
werb der Spark-Gruppe zu schließen. Infolgedessen     resources Spark Group had used in connection
gab es trotz der von der Spark-Gruppe im Zusam-       with the M&A process.
menhang mit dem M&A-Prozess eingesetzten Zeit
und Ressourcen keinen Interessenten, der an der
Übernahme einiger oder aller Vermögenswerte der
Spark-Gruppe interessiert gewesen wäre.


Infolge der vorbeschriebenen Entwicklungen wurde      Because of the developments described above,
auch die Finanzierungsvereinbarung mit MGG            the Financing Agreement with MGG was
mehrfach angepasst. Am 19. August 2022 schloss        amended on several occasions as well. On Au-
die Schuldnerin die 1. Änderungsvereinbarung zur      gust 19, 2022, Debtor entered into amendment
Finanzierungsvereinbarung ab, in der bestimmte fi-    no. 1 to the Financing Agreement, which re-
nanzbezogene Covenants in Bezug auf die Prüfung       vised certain financial covenants related to the
der   vierteljährlichen   Verschuldungsquote    der   testing of Debtor’s quarterly leverage ratio and
Schuldnerin und der Mindestausgaben der Schuld-       Debtor’s minimum market spend. On March
nerin geändert wurden. Am 29. März 2023 schloss       29, 2023, Debtor entered into amendment no. 2
die Schuldnerin die 2. Änderungsvereinbarung zur      to the Financing Agreement containing a for-
Finanzierungsvereinbarung, die, unter den Voraus-     bearance agreement which granted forbearance
setzungen, dass die Schuldnerin ein Gutachten zu      until May 15, 2023, with respect to Debtor’s re-
den Fortführungsaussichten einholt und einen Fi-      ceipt of a going concern opinion on the condi-
nanzberater hinzuzieht, eine Stillhaltevereinbarung   tion that Debtor retains a financial advisor, and
enthielt, die einen Stillhaltezeitraum bis zum        amended the definition of Adjusted EBITDA
15. Mai 2023 gewährte und die Definition des be-      in the Financing Agreement.
reinigten EBITDA in der Finanzierungsvereinba-
rung änderte.


Am 15. Mai 2023 schloss die Schuldnerin die 1. Än-    On May 15, 2023, Debtor entered into amend-
derungsvereinbarung zur Stillhaltevereinbarung ab,    ment no. 1 to the forbearance agreement which,
welche u. a. den Stillhaltezeitraum bis zum 25. Mai   inter alia, extended the forbearance termina-
2023 verlängerte.                                     tion date to May 25, 2023.


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Am 25. Mai 2023 schloss die Schuldnerin die 2. Än-     On May 25, 2023, Debtor entered into amend-
derungsvereinbarung zur Stillhaltevereinbarung ab,     ment no. 2 to the forbearance agreement which
welche den Stillhaltezeitraum bis zum 15. Juni 2023    extended the forbearance period termination
verlängerte.                                           date to June 15, 2023.


Am 15. Juni 2023 schloss die Schuldnerin die           On June 15, 2023, Debtor entered into amend-
3. Änderungsvereinbarung zur Stillhaltevereinba-       ment no. 3 to the forbearance agreement which
rung, welche den Stillhaltezeitraum bis zum 14. Juli   extended the forbearance period termination
2023 u. a. unter der Bedingung verlängerte, dass die   date to July 14, 2023, inter alia, conditioned on
Schuldnerin einen Wirtschaftsprüfer mit der Erstel-    Debtor engaging an auditor to provide an IDW
lung eines IDW S6-Sanierungsgutachtens beauf-          S6 restructuring opinion.
tragt.


Seit dem 14. Juli 2023 und bis zum 20. Oktober         From July 14, 2023, to October 20, 2023,
2023 schloss die Schuldnerin mit MGG die Ände-         Debtor entered      into amendments         nos. 4
rungsvereinbarungen Nr. 4 bis 14 zur Stillhaltever-    through 14 to the forbearance agreement and
einbarung sowie Änderungsvereinbarung Nr. 1 zur        amendment no. 1 to amendment no. 14 to the
14. Änderungsvereinbarung zur Stillhaltevereinba-      forbearance agreement which extended the for-
rung ab, in welchen der Stillhaltezeitraum sukzes-     bearance period termination date successively
sive bis zum 19. Dezember 2023 verlängert wurde.       to December 19, 2023. Amendment no. 14
Änderungsvereinbarung Nr. 14 umfasst verschie-         contains various StaRUG restructuring mile-
dene Meilensteine in Bezug auf das Restrukturie-       stones to be fulfilled in order to maintain such
rungsverfahren, die erfüllt werden müssen, um das      forbearance.
Stillhalten aufrecht zu erhalten.


Bereits vor und auch während des Stillhaltezeit-       Before and throughout the forbearance period
raums (einschließlich der verschiedenen Ände-          (including amendments) Debtor’s administra-
rungsvereinbarungen) arbeiteten der Verwaltungs-       tive board and management team worked tire-
rat und das Managementteam der Schuldnerin uner-       lessly to find alternative restructuring options.
müdlich daran, alternative Restrukturierungsoptio-
nen zu ermitteln.


Während des Stillhaltezeitraums entwickelten der       During the forbearance period, Debtor’s ad-
Verwaltungsrat und das Managementteam der              ministrative board and management team and
Schuldnerin und Ankura Consulting Group, LLC ei-       Ankura Consulting Group, LLC developed a
nen Umstrukturierungsplan („Umstrukturierungs-         transformation plan to return the Spark Group
plan“), um die Spark-Gruppe wieder rentabel zu         to profitability and growth that was evaluated
machen und Wachstum zu erzielen. Der Umstruktu-        and approved by the board of Debtor (the
rierungsplan wurde vom Verwaltungsrat der              “Transformation Plan”). The Transformation
Schuldnerin bewertet und genehmigt. Der Plan
wurde anschließend sowohl zur Unterstützung von

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Verhandlungen über zusätzliche Investitionen von       Plan was subsequently used both to support ne-
MGG als auch zur Suche nach zusätzlichen externen      gotiations for additional investment from MGG
Investitionen verwendet.                               and to seek additional investment externally.


Als sich herausstellte, dass der Verkaufsprozess       As it became apparent that the sale process was
wahrscheinlich nicht zu einer erfolgreichen Trans-     unlikely to result in a successful transaction,
aktion führen würde, zogen der Verwaltungsrat und      the administrative board and management
das Managementteam mit Unterstützung von               team, with the assistance of legal and financial
Rechts- und Finanzberatern die Durchführung eines      advisors, considered conducting a subscription
Bezugsrechtsangebots in Betracht, um zusätzliches      offering to raise additional capital. After exten-
Kapital zu beschaffen. Nach einer umfassenden          sive analysis, it was determined that this pro-
Analyse wurde festgestellt, dass dieser Prozess        cess may not raise enough funds and would re-
möglicherweise nicht genügend Mittel einwerben         quire a longer timeline than the Spark Group
und einen längeren Zeitraum erfordern würde, als       had liquidity to support. The reason for this is
die Spark-Gruppe an Liquidität zur Verfügung           that a subscription offering constitutes a public
hatte. Grund hierfür ist, dass ein Bezugsangebot ein   offering that would have required the prepara-
öffentliches Angebot darstellt, das nach US-Recht      tion, review and publication of a securities pro-
die Erstellung, Prüfung und Veröffentlichung eines     spectus under U.S. law.
Wertpapierprospekts erforderlich gemacht hätte.


Eine andere, vielversprechendere Alternative zur       Another, more promising alternative of obtain-
Beschaffung zusätzlicher Liquidität war eine Privat-   ing additional liquidity was a private placement
platzierung neuer Aktien – ein sog. Private Place-     of new shares. The private placement would
ment. Das Private Placement hätte den Vorteil einer    have offered the advantage of a potentially
potenziell kürzeren Umsetzungsdauer (kein Pros-        shorter implementation period (no prospectus
pekterfordernis) und einer größeren Erfolgsgarantie    requirement) and a greater guarantee of success
geboten, wenn die wesentlichen bestehenden Aktio-      if sufficient commitments had been made by
näre (oder andere Investoren) ausreichende Ver-        the existing significant shareholders (or other
pflichtungen eingegangen wären. Das Manage-            investors). Management and the administrative
mentteam und der Verwaltungsrat arbeiteten mit         board worked with MGG to develop a structure
MGG zusammen, um eine Struktur für ein solches         for such a private placement that, although not
Private Placement zu entwickeln, die, obwohl nicht     mandatory, would allow for the participation of
zwingend erforderlich, eine Beteiligung zugelasse-     accredited shareholders in the hope of obtain-
ner Aktionäre ermöglichte, in der Hoffnung, genü-      ing sufficient shareholder support to bring
gend Unterstützung durch die Aktionäre zu erhalten,    about the required resolution at Debtor’s an-
um den erforderlichen Beschluss der Hauptver-          nual general meeting. For this purpose, the
sammlung der Schuldnerin herbeizuführen. Das           management and the board approached to a
Managementteam und der Verwaltungsrat wandten          number of Debtor’s largest shareholders (i. e.,
sich zu diesem Zweck an eine Reihe der größten Ak-     significant ADR holders) to explore interest in
tionäre der Schuldnerin (d. h. wesentliche ADR-        voting accordingly at the annual general meet-
Holder), um das Interesse an einer entsprechenden      ing and, if applicable, in making an investment.


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Stimmabgabe in der Hauptversammlung und ggf. an           Two shareholders signed NDAs and engaged
einer Investition zu erkunden. Zwei Aktionäre un-         in extensive discussions and presentations with
terzeichneten     Verschwiegenheitsvereinbarungen         management and the board over a period of
und führten über einen Zeitraum von mehreren Wo-          several weeks. Eventually, neither shareholder
chen ausführliche Gespräche und Präsentationster-         was interested in investing in the private place-
mine mit Managementteam und Verwaltungsrat                ment structure. One of the shareholders even
durch. Keiner der Aktionäre war letztlich an einer        announced that it would vote against a corre-
Investition in die Private Placement-Struktur inte-       sponding resolution of the annual general
ressiert. Einer der Aktionäre kündigte sogar an, ge-      meeting on a capital increase to implement the
gen einen entsprechenden Beschluss der Hauptver-          private placement. Achieving the required ma-
sammlung über eine Kapitalerhöhung zur Umset-             jority was not realistic without the support of
zung des Private Placement zu stimmen. Das Errei-         the main shareholders. The shareholders were
chen der erforderlichen Mehrheit war ohne die Un-         given the opportunity to present their own ideas
terstützung der wesentlichen Aktionäre nicht realis-      of a private placement option and one did but
tisch. Den beiden Aktionären wurde die Möglich-           not in writing. Despite weeks of discussions
keit gegeben, ihre eigenen Vorstellungen einer Pri-       and several attempts by the management team
vate Placement-Struktur vorzustellen, was einer von       and board, it was ultimately not possible to
ihnen auch tat, allerdings nicht in schriftlicher Form.   achieve a willingness on the part of the share-
Trotz wochenlanger Gespräche und mehrerer An-             holders to make sufficient and timely restruc-
läufe des Managementteams und des Verwaltungs-            turing contributions for a private placement
rats ließ sich schließlich keine Bereitschaft der Ak-     and to maintain the liquidity of Debtor.
tionäre erzielen, hinreichende und rechtzeitige Sa-
nierungsbeiträge für ein Private Placement zu leis-
ten und die Liquidität der Schuldnerin aufrecht zu
erhalten.


Nachdem alle Möglichkeiten ausgeschöpft waren             Having exhausted every option, and with li-
und die Liquidität ein kritisches Niveau erreicht         quidity reaching critical levels, Debtor had no
hatte, blieb der Schuldnerin keine andere Möglich-        choice but to turn to a StaRUG process to ob-
keit, als ein StaRUG-Verfahren zu initiieren, um die      tain the necessary liquidity and relief to save
notwendige Liquidität und Unterstützung zu erhal-         Spark Group, allow it to complete its overall
ten, um die Spark-Gruppe zu retten, indem diese in        restructuring concept supported by the main
die Lage versetzt wird, das Gesamt-Restrukturie-          creditor MGG and return Spark Group to
rungskonzept mithilfe des Großgläubigers MGG              growth and profitability.
umzusetzen und die Spark-Gruppe zu Wachstum
und Rentabilität zurück zu verhelfen.




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2.    Angaben zur Vermögenslage der Schuld-             2.    Information on Debtor's financial sit-
      nerin                                                   uation


a)    Aktuelle Vermögenslage                            a)    Current financial situation


Aus der als Anlage 4 beigefügten Pro-Forma-Ein-         The pro forma individual balance sheet of the
zelbilanz der Schuldnerin zum 30. September 2023        Debtor as of September 30, 2023 attached as
ergibt sich die Vermögenslage der Schuldnerin.          Annex 4 shows the financial situation of
                                                        Debtor.


Die Schuldnerin unterliegt den Rechnungslegungs-        Debtor is subject to the accounting require-
vorgaben des HGB und erstellt deshalb Jahresab-         ments of the German Commercial Code (Han-
schlüsse nach HGB sowie Konzernabschlüsse nach          delsgesetzbuch, “HGB”) and therefore pre-
den International Financial Reporting Standards         pares annual financial statements in accordance
(„IFRS“) gemäß § 315e Abs. 1 HGB. Darüber hin-          with HGB as well as consolidated financial
aus erstellt die Schuldnerin auf Gruppenebene um-       statements in accordance with International Fi-
fassende Quartalsberichte auf Grundlage U.S.-wert-      nancial Reporting Standards (“IFRS”) pursu-
papierrechtlicher Vorgaben nach US-GAAP. Für            ant to Sec. 315e (1) HGB. In addition, Debtor
die Zwecke der Darstellung der wirtschaftlichen         prepares comprehensive quarterly reports at
Lage der Schuldnerin wird im Rahmen des Restruk-        Group level based on U.S. securities law re-
turierungsplans auf letztere zurückgegriffen, soweit    quirements in accordance with US-GAAP. For
nicht zwingend nach HGB zu beurteilende Plan-           the purpose of presenting the economic situa-
maßnahmen betroffen sind.                               tion of Debtor, the latter is used in the context
                                                        of the Restructuring Plan, insofar as plan
                                                        measures that must be assessed in accordance
                                                        with HGB are not affected.


Die als Anlage 4 beigefügte Pro-Forma-Einzelbi-         The pro forma individual balance sheet at-
lanz nach Rechnungslegungsvorgaben des HGB              tached as Annex 4 according to German GAAP
zeigt, dass ein nicht durch Eigenkapital gedeckter      shows a deficit not covered by equity in the
Fehlbetrag in Höhe von EUR 81.413.900,00 be-            amount of EUR 81,413,900.00. This results
steht. Dieser resultiert aus dem Umstand, dass die      from the fact that the subsidiaries are currently
Tochtergesellschaften derzeit nicht in der Lage sind,   not in a position to service the principal and in-
die Darlehensrückzahlungen gegenüber MGG zu             terest owed to MGG. Since Debtor is liable for
leisten. Weil die Schuldnerin für das MGG-Darle-        repayment as a further borrower, the MGG
hen als weiterer Darlehensnehmer mithaftet, ist die     Loan debt is currently shown in the pro forma
Darlehensverbindlichkeit gegenüber MGG in der           individual balance sheet of Debtor as accrual
Pro-Forma-Einzelbilanz der Schuldnerin als Rück-        for uncertain liability in the amount of
stellung für ungewisse Verbindlichkeiten in Höhe        EUR 99,421,400.00. Any receivables from re-
von EUR 99.421.400,00 abgebildet. Etwaige Forde-        course claims against the subsidiaries are to be
rungen aus Rückgriffansprüchen gegenüber den            adjusted in full in value, so that the accrual for

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Tochtergesellschaften sind in voller Höhe im Wert     uncertain liabilities is not offset by any coun-
zu berichtigen, sodass der Rückstellung für unge-     tervalue on the asset side of the pro forma indi-
wisse Verbindlichkeiten kein Gegenwert auf der        vidual balance sheet. The accumulated loss re-
Aktivseite des Vermögensstatus gegenübersteht.        sulting from this and from existing losses total-
Der hieraus und aus bereits vorhandenen Verlusten     ing EUR 192,164,100.00 exceeds the existing
resultierende Bilanzverlust in Höhe von insgesamt     capital reserve and share capital by the afore-
EUR 192.164.100,00 übersteigt die vorhandene Ka-      mentioned deficit not covered by equity.
pitalrücklage und das gezeichnete Kapital um den
vorgenannten nicht durch Eigenkapital gedeckten
Fehlbetrag.


Das MGG-Darlehen war im Jahresabschluss zum           The MGG Loan was only listed as a contingent
31. Dezember 2022 noch als Eventualverbindlich-       liability under “Disclosures on contingent lia-
keit bei den „Angaben zu Haftungsverhältnissen“       bilities”; accruals for possible utilization have
genannt; Rückstellungen für eine mögliche Inan-       not been recognized as of December 31, 2022.
spruchnahme wurden zum 31. Dezember 2022 noch         The same applies to the Debtor's financial
nicht gebildet. Dasselbe gilt für die U.S.-kapital-   statements according to US-GAAP for U.S. se-
marktrechtlichen     Rechnungslegungswerke      der   curities law purposes.
Schuldnerin nach US-GAAP.


b)        Zukünftige Vermögenslage unter Planan-      b)    Future financial situation under plan
          nahmen                                            assumptions


Das Gesamt-Restrukturierungskonzept zielt darauf      The overall restructuring concept is focused on
ab, die Spark-Gruppe durch Umsatzwachstum so-         driving Spark Group forward through revenue
wie verbesserte Gewinnspannen, EBITDA, Cash-          growth as well as improved margins, EBITDA,
flow und eine allgemeine Stabilisierung der Spark-    cash flow and general stabilization of Spark
Gruppe zu stärken. Die geplanten Ziele des Gesamt-    Group going forward. Planned results of the
Restrukturierungskonzepts sind nachfolgend darge-     overall restructuring concept are below:
stellt:




Das Gesamt-Restrukturierungskonzept führt auch        The overall restructuring concept also results in
dazu, dass die Spark-Gruppe ab dem zweiten Quar-      Spark Group beginning to generate significant
tal 2024 einen beträchtlichen freien Cashflow gene-   free cash flow beginning the second quarter of




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rieren wird, der zur Schuldentilgung und zum Ab-      2024, which will be used to pay down debt and
bau des Verschuldungsgrads der Schuldnerin ver-       de-lever Debtor.
wendet werden soll.


Das außergerichtliche operative Restrukturierungs-    The out-of-court operational restructuring con-
konzept gemäß Umstrukturierungsplan umfasst fünf      cept outlined in the Transformation Plan is a
Phasen und soll ab dem zweiten Quartal 2023 über      five-phase plan and is intended to be put in
einen Zeitraum von 18 bis 24 Monaten umgesetzt        place over 18 to 24 months starting in the sec-
werden. Phase eins konzentriert sich auf die Ausla-   ond quarter of 2023. Phase one is focused on
gerung von Schlüsselfunktionen an Drittanbieter,      the outsourcing of key functions to third-party
die über das nötige Fachwissen und die nötige Ka-     providers with the depth of expertise and band-
pazität verfügen, um den Plan innerhalb des erfor-    width to execute in the timeframe needed.
derlichen Zeitrahmens umzusetzen. Die Spark-          Spark Group has already begun this effort sign-
Gruppe hat bereits damit begonnen, indem sie Ver-     ing contracts with a leading performance mar-
träge mit einer führenden Performance-Marketing-      keting agency and a technology managed ser-
Agentur und einem Anbieter von Managed Services       vice provider.
im Technologiebereich unterzeichnet hat.


Phase zwei ist dem Abschluss der Entwicklung und      Phase two is dedicated to the completion of the
dem Einsatz einer Reihe neuer und verbesserter mo-    development and deployment of a series of new
biler Apps für die Marken der Spark-Gruppe gewid-     and improved mobile apps for Spark Group’s
met.                                                  brands.


Die dritte Phase konzentriert sich auf die Behebung   Phase three is focused on fixing significant is-
der wichtigsten Schwachstellen, insbesondere auf      sues, highlighted by platform consolidation
die Plattformkonsolidierung und die Konsolidie-       and consolidated data, reporting, and analytics.
rung von Daten, Berichten und Analysen.


In der vierten Phase werden die Matching-Algorith-    Phase four is to modernize matching algo-
men modernisiert, um die Wettbewerbsfähigkeit der     rithms, which will improve Spark Group’s
Spark-Gruppe auf dem Online-Dating-Markt zu           competitiveness in the online dating market.
verbessern.


Die fünfte Phase konzentriert sich auf die Ausrich-   Phase five focuses on positioning Spark Group
tung der Spark-Gruppe auf Wachstum, wozu auch         for growth that includes moving forward with
eine zeitgemäße Strategie und ein zeitgemäßer An-     a contemporary customer segmentation strat-
satz zur Kundensegmentierung gehören.                 egy and approach.


Insgesamt soll das operative Restrukturierungskon-    Overall, the operative restructuring concept
zept gemäß Umstrukturierungsplan zu einem klei-       outlined in the Transformation Plan is intended
neren, wendigeren Mitarbeiterstamm, zu operativer     to result in a smaller, nimbler employee base,


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Flexibilität, zu einer niedrigeren und variableren      operational flexibility, a lower and more varia-
Kostenstruktur und zu einem deutlich effizienteren      ble cost structure, and a significantly more ef-
und     effektiveren     Performance-Marketing-Pro-     ficient and effective performance marketing
gramm führen. Durch die Fokussierung auf die lang-      program. By focusing on the long-term reduc-
fristige Senkung der Kosten und die Vereinfachung       tion of costs and the simplification of operating
der Betriebsstruktur soll das operative Restrukturie-   structure, the operative restructuring concept is
rungskonzept umsetzbar, erreichbar und messbar          designed to be executable, reasonably achieva-
sein.                                                   ble, and measurable.


Die Maßnahmen des Restrukturierungsplans sollen         The measures of the Restructuring Plan shall
der Schuldnerin und damit der Spark-Gruppe durch        provide Debtor, and thus the Spark Group, with
Umgestaltung der Finanzverbindlichkeiten gegen-         the financial flexibility to implement the oper-
über MGG und durch Zuführung neuen Eigenkapi-           ational measures of the overall restructuring
tals sowie durch Restrukturierung der Zoosk-Notes       concept outlined in the Transformation Plan by
die finanziellen Freiräume eröffnen, um die operati-    restructuring the financial liabilities to MGG
ven Maßnahmen des Gesamt-Restrukturierungs-             and by contributing new equity as well as by
konzepts gemäß Umstrukturierungsplan umzuset-           restructuring the Zoosk Notes.
zen.


c)      Zukünftige Vermögenslage ohne Restruk-          c)    Future financial situation without Re-
        turierungsplan                                        structuring Plan


Ohne den Restrukturierungsplan und die auf die          Without the Restructuring Plan and the Interim
Durchführung des Restrukturierungsverfahrens be-        Financing conditional on the implementation
dingte Interim-Finanzierung würde die Spark-            of the restructuring proceedings, Spark Group
Gruppe nicht genügend Liquidität generieren, um         would not generate sufficient liquidity to pay
ihre Verbindlichkeiten zu bedienen. Die Schuldne-       its liabilities. Debtor would be insolvent and
rin wäre unmittelbar zahlungsunfähig und über-          overindebted immediately and would have to
schuldet und müsste unverzüglich einen Insol-           file for insolvency without undue delay. One of
venzantrag stellen. Eine Bedingung für die vonsei-      the conditions of the bridge financing provided
ten MGG zur Verfügung gestellte Interim-Finanzie-       by MGG is for Debtor to execute a StaRUG
rung ist die Durchführung eines StaRUG-Verfah-          process which provides for a complete acquisi-
rens, das einen vollständigen Anteilserwerb durch       tion of shares by MGG.
MGG vorsieht.


3.      Angaben zu Arbeitnehmern und zur Ar-            3.    Information on employees and em-
        beitnehmervertretung                                  ployee representation


Die Schuldnerin beschäftigt keine Arbeitnehmer,         Debtor does not have any employees and there-
weshalb keine Arbeitnehmervertretung existiert.         fore no employee representation exists. All of
Sämtliche der fast 250 Arbeitnehmer der Spark-          the nearly 250 employees of the Spark Group


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Gruppe sind bei Spark Networks Services GmbH          are at Spark Networks Services GmbH and var-
und diversen anderen Tochtergesellschaften der        ious subsidiaries of Debtor.
Schuldnerin angestellt.


4.    Angaben zur Unternehmensgruppe                  4.    Information on the company group


a)    Allgemeine Angaben                              a)    General information


Die Schuldnerin ist die oberste Muttergesellschaft    Debtor is the ultimate parent of Spark Group
der Spark-Gruppe und übt ausschließlich Holding-      and has holding functions solely. The main
funktionen aus. Die wichtigsten Tochtergesellschaf-   subsidiaries consist of Spark Networks Ser-
ten sind Spark Networks Services GmbH in              vices GmbH, located in Germany, Spark Net-
Deutschland sowie Spark Networks, Inc. und            works, Inc., a Delaware entity, and Zoosk, Inc.,
Zoosk, Inc., jeweils Gesellschaften nach dem Recht    a Delaware entity. The further 16 subsidiaries
des US-Bundesstaats Delaware. Die weiteren            are shown in the following structure chart of
16 Tochtergesellschaften sind aus dem folgenden       Spark Group (as of July 2023):
Strukturschaubild der Spark-Gruppe (mit Stand
vom Juli 2023) ersichtlich:




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b)    Zusätzliche Angaben zu verbundenen Un-          b)      Additional disclosures on affiliated
      ternehmen, die Sicherheiten gestellt haben,             companies the collateral provided by
      welche in den Restrukturierungsplan ein-                which is included in the Restructuring
      bezogen werden                                          Plan


Von den Regelungen des Restrukturierungsplans         Spark Networks, Inc. and Zoosk, Inc. are di-
unmittelbar betroffen sind Spark Networks, Inc. und   rectly affected by the provisions of the Restruc-
Zoosk, Inc. als Darlehensnehmer des MGG-Darle-        turing Plan as borrowers of the MGG Loan.
hens. Ebenfalls unmittelbar betroffen sind Spark      Also directly affected are Spark Networks Ser-
Networks Services GmbH, Spark Networks USA,           vices GmbH, Spark Networks USA, LLC,
LLC, Smooch Labs, Inc., Minglematch, Inc., Spark      Smooch Labs, Inc., Minglematch, Inc., Spark
Networks Limited, LOV USA, LLC in ihrer Eigen-        Networks Limited, LOV USA, LLC in their ca-
schaft als Garanten für das MGG-Darlehen. In Höhe     pacity as guarantors for the MGG Loan. In the
des vorgesehenen Teilverzichts sollen auch die vor-   amount of the intended partial waiver of the
genannten Unternehmen der Spark-Gruppe von ih-        MGG Loan, the aforementioned companies of
rer Darlehensverbindlichkeit unter der Finanzie-      the Spark Group are also to be released from
rungsvereinbarung befreit werden.                     their loan liability under the Financing Agree-
                                                      ment.


Jedes der vorgenannten Unternehmen, insbesondere      Each such entity, particularly Spark Networks,
Spark Networks, Inc. und Zoosk, Inc., sollen durch    Inc. and Zoosk, Inc., is an intended beneficiary
den Restrukturierungsplan derart begünstigt wer-      of the Restructuring Plan and shall have the
den, dass sie sich auf dessen Wirksamkeit berufen     ability to invoke the authority of such Restruc-
können.                                               turing Plan, if confirmed.


IV. Restrukturierungsbezogene Angaben                 IV. Restructuring-related information

1.    Beschreibung der Maßnahmen zur Bewäl-           1.      Description of the measures taken to
      tigung der Krise                                        overcome the crisis


Das erarbeitete Restrukturierungskonzept beinhaltet   The restructuring concept developed includes
sowohl finanzielle Restrukturierungsmaßnahmen         both financial restructuring measures based on
auf Grundlage des Restrukturierungsplans als auch     the Restructuring Plan and operational restruc-
operative    Restrukturierungsmaßnahmen     gemäß     turing measures outlined in the Transformation
dem Umstrukturierungsplan. Es wurde im Wege ei-       Plan. An independent restructuring expert
nes Sanierungsgutachtens in Anlehnung an IDW S6       – Ernst         &         Young            GmbH
und unter Berücksichtigung der höchstrichterlichen    Wirtschaftsprüfungsgesellschaft Strategy and
Rechtsprechung durch einen unabhängigen Sanie-        Transactions –, validated it in the form of a re-
                                                      structuring opinion based on IDW S6 and con-
                                                      sidering the highest court rulings.


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rungsgutachter – Ernst & Young GmbH Wirt-
schaftsprüfungsgesellschaft Strategy and Transac-
tions – validiert.


a)     Planbasierte Maßnahmen auf Fremdkapi-             a)    Plan-based measures on debt site
       talseite


Wesentliche Bestandteile des Restrukturierungs-          Key components of the Restructuring Plan are
plans betreffen auf Fremdkapitalseite die Teilent-       on the debt side relate to the partial debt relief
schuldung der Schuldnerin, die Anpassung der Best-       of Debtor, the amendment of the Financing
immungen der Finanzierungsvereinbarung zwecks            Agreement to eliminate existing termination
Beseitigung bestehender Kündigungsrechte sowie           rights, and the creation of a further liquidity
die Schaffung eines weiteren Liquiditätsrahmens.         framework.


Teilforderungserlass                                     Partial Waiver


MGG soll Forderungen gegen die Spark-Gruppe aus          MGG shall waive claims against Spark Group
dem MGG-Darlehen erlassen, soweit die MGG-               under the MGG Loan to the extent such claims
Darlehensverbindlichkeiten zum Zeitpunkt der ge-         for    MGG        Loan      liabilities     exceed
richtlichen Bestätigung des Restrukturierungsplans       USD 100,000,000.00 as of the time of court
USD 100.000.000,00 übersteigen, d.h. voraussicht-        confirmation of the Restructuring Plan, i.e. an
lich insgesamt USD 16.943.800,85 (inkl. Interim-         estimated total amount of USD 16,943,800.85
Finanzierung und aufgelaufener Zinsen). Der Ge-          (incl. Interim Financing and accrued interest).
samtbetrag der Darlehensverbindlichkeiten, der Ge-       The total amount of loan liabilities which is
genstand des Teilforderungserlasses ist, schließt alle   subject to such waiver will include any new ob-
neuen Verpflichtungen aus der Interim-Finanzie-          ligations under the Interim Financing, but, for
rung ein; allerdings bezieht sich der Teilforderungs-    the avoidance of doubt, MGG’s partial claim
erlass durch MGG nur auf die Darlehensverbind-           waiver shall only relate to the obligations in-
lichkeiten, die vor der Einleitung des Sanierungs-       curred prior to the commencement of restruc-
verfahrens nach dem StaRUG bestanden. Hierdurch          turing proceedings pursuant to StaRUG. This
wird die Schuldenlast unmittelbar reduziert. Der         will directly reduce the debt burden. The partial
Teilforderungserlass des MGG-Darlehens soll auf-         waiver of the MGG Loan shall cease to be ef-
lösend bedingt werden auf die Nichteintragung der        fective (auflösend bedingt sein) if the capital
in diesem Restrukturierungsplan vorgesehenen Ka-         increase provided for in this Restructuring Plan
pitalerhöhung in das Handelsregister der Schuldne-       has not been registered with the commercial
rin bis zum 29. Februar 2024, 24:00 Uhr (MEZ).           register of Debtor until February 29, 2024,
Durch die auflösende Bedingung soll ein Auseinan-        24:00 hours (CET). The resolving condition is
derfallen von Teilforderungserlass und Aktionärs-        intended to prevent a conflict between the par-
wechsel vermieden werden. MGG soll in Bezug auf          tial claim waiver and the change of ownership.
den Teilforderungserlass auf etwaig aus § 2 Abs. 4       MGG shall waive any rights according to
StaRUG resultierende Rechte verzichten.


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                                                      Sec. 2 (4) StaRUG with regard to the partial
                                                      waiver.


Anpassung Finanzierungsvereinbarung                   Amendment of Financing Agreement


Die einzelnen Bestimmungen der Finanzierungsver-      The provisions of the Financing Agreement
einbarung sollen ferner angepasst werden. Hierzu      shall also be amended. For this purpose, MGG
hat MGG die als Anlage 5 beigefügte Verpflich-        has submitted the declaration of commitment
tungserklärung unter der aufschiebenden Bedin-        attached as Annex 5 subject to the condition
gung der rechtskräftigen Bestätigung des Restruktu-   precedent of the legally binding confirmation
rierungsplans und der Durchführung der hierin vor-    of the Restructuring Plan and the consumma-
gesehenen Kapitalmaßnahmen durch Eintragung im        tion of the capital measures stipulated herein by
Handelsregister abgegeben. Spiegelbildliche, als      registration in the commercial register. In-
Anlage 6 beigefügte Erklärungen im Sinne von § 15     versely declarations within the meaning of
Abs. 3 StaRUG haben diejenigen Tochtergesell-         Sec. 15 (3) StaRUG, attached as Annex 6,
schaften der Schuldnerin abgegeben, die als Darle-    have been submitted by those subsidiaries of
hensnehmer oder Garant unter der Finanzierungs-       Debtor which are jointly liable as borrowers or
vereinbarung mithaften.                               guarantors under the Financing Agreement.


Neue revolvierende Kreditlinie                        New revolving credit facility


Hinsichtlich dieser Ergänzung der Finanzierungs-      Regarding this amendment to the Financing
vereinbarung wird auf Abschnitt B.IV.2. verwiesen.    Agreement, reference is made to Sec-
                                                      tion B.IV.2.


Erlass der Zoosk-Notes                                Waiver of Zoosk Notes


Zur weiteren Entschuldung der Schuldnerin um          To further relieve Debtor of approximately
ca. USD 13.851.262,72 erlässt MGG die Forderun-       USD 13,851,262.72, MGG waives the claims
gen aus den Zoosk-Notes. Der Erlass der Zoosk-No-     arising from the Zoosk Notes. The waiver of
tes soll auflösend bedingt werden auf die Nichtein-   the Zoosk Notes shall cease to be effective
tragung der in diesem Restrukturierungsplan vorge-    (auflösend bedingt sein) if the capital increase
sehenen Kapitalerhöhung in das Handelsregister der    provided for in this Restructuring Plan has not
Schuldnerin bis zum 29. Februar 2024, 24:00 Uhr       been registered with the commercial register of
(MEZ). Durch die auflösende Bedingung soll ein        Debtor until February 29, 2024, 24:00 hours
Auseinanderfallen von Erlass und Aktionärswech-       (CET). The resolving condition is intended to
sel vermieden werden.                                 prevent a conflict between the claim waiver
                                                      and the change of ownership.




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b)       Planbasierte Maßnahmen auf Eigenkapi-                     b)    Plan-based measures on equity side
         talseite


Im Rahmen dieses Restrukturierungsplans sollen                     In the context of this Restructuring Plan, the
ferner die Planbetroffenen Aktionäre Sanierungs-                   Plan-Affected Shareholders are also to make
beiträge erbringen. So sind auf Eigenkapitalseite                  restructuring contributions. On the equity side,
folgende für die Sanierung der Schuldnerin erfor-                  the following capital measures, which are nec-
derliche und unverzichtbare Kapitalmaßnahmen im                    essary and indispensable for the restructuring
Interesse der Schuldnerin und ihrer Gläubiger vor-                 of Debtor, are planned in the interests of Debtor
gesehen:                                                           and its creditors:


Vereinfachte Kapitalherabsetzung auf null                          Simplified capital decrease to zero


Der        Restrukturierungsplan             regelt         eine   The Restructuring Plan provides for a capital
Kapitalherabsetzung      auf     null,       bei      der    die   reduction to zero, whereby the Debtor will re-
Schuldnerin ihr Grundkapital von gegenwärtig                       duce its share capital by EUR 2,661,385.00
EUR 2.661.385,00        um     EUR 2.661,385,00             auf    from its current level of EUR 2,661,385.00 to
EUR 0,00 herabsetzt. Die Kapitalherabsetzung soll                  EUR 0.00. The capital reduction shall be ef-
nach den Vorschriften über die vereinfachte Kapi-                  fected in accordance with the provisions on the
talherabsetzung erfolgen (Art. 5 Verordnung (EG)                   simplified capital reduction (Art. 5 Council
Nr. 2157/2001 des Rates vom 8. Oktober 2001 über                   Regulation (EC) No. 2157/2001 of October 8,
das Statut der Europäischen Gesellschaft (SE)                      2001 on the Statute for a European company
i. V. m. § 229 Abs. 1 AktG).                                       (SE) in conjunction with Sec. 229 (1) AktG).


Die Vornahme der vereinfachten Kapitalherabset-                    The implementation of the simplified capital
zung ist gemäß §§ 229 ff AktG zulässig. Sie erfolgt                reduction is permissible pursuant to Sec. 229 et
zum Zwecke des Ausgleichs von Wertminderungen                      seq. AktG. It is made for the purpose of com-
und zur Deckung sonstiger Verluste. Die als An-                    pensating for impairments and covering other
lage 4     beigefügte   Pro-Forma-Einzelbilanz              der    losses. The pro forma individual balance sheet
Schuldnerin zum 30. September 2023 weist ein ne-                   of the Debtor as of September 30, 2023, at-
gatives        Eigenkapital          in       Höhe          von    tached hereto as Annex 4, shows negative eq-
EUR 81.413.900,00 aus. Die aus der beigefügten                     uity in the amount of EUR 81,413,900.00. The
Pro-Forma-Einzelbilanz         der        Schuldnerin       zum    capital    reserve    in    the    amount           of
30. September 2023 ebenfalls ersichtliche Kapital-                 EUR 108,126,400.00, which can also be seen
rücklage in Höhe von EUR 108.126.400,00 wurde                      in the attached pro forma individual balance
mit Beschluss des Verwaltungsrates vom 2. Novem-                   sheet of the Debtor as of September 30, 2023,
ber 2023 nach Maßgabe von § 229 Abs. 2 AktG                        was completely dissolved by resolution of the
vollständig aufgelöst und mit dem bestehenden Bi-                  administrative board dated November 2, 2023,
lanzverlust verrechnet. Eine Kopie des vorgenann-                  in accordance with Sec. 229 (2) AktG and off-
ten Beschlusses des Verwaltungsrates ist als An-                   set against the existing accumulated deficit. A
                                                                   copy of the aforementioned resolution of the

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lage 7 beigefügt. Zwar wies der HGB-Jahresab-         Board of Directors is also attached as Annex 7.
schluss der Schuldnerin zum 31.Dezember 2022          Debtor’s German GAAP financial statements
noch ein Eigenkapital in Höhe von EUR 32.566.885      as of December 31, 2022 still showed an equity
aus. Dieser Betrag ist jedoch bei aktueller Pro-      of EUR 32,566,885. However, this amount is
Forma-Betrachtung selbst unter Zugrundelegung         to be reduced considerably in the current pro
von Fortführungswerten beträchtlich zu reduzieren:    forma view, even based on on-going-concern
Zum einen blieben im Einzelabschluss 2022 aus         values: Firstly, for accounting reasons, the loan
buchhalterischen Gründen die Darlehensverbind-        payable under the MGG Loan, currently
lichkeiten aus dem MGG-Darlehen in Höhe von ak-       amounting to USD 107,615,030.87, was not
tuell USD 107.615.030,87 außer Betracht. Zum an-      considered in the individual financial state-
deren ist gegenwärtig der tatsächliche Wert der als   ments for 2022. Secondly, the actual value of
Aktiva ausgewiesenen Beteiligungen an verbunde-       the investments in affiliated companies re-
nen Unternehmen deutlich geringer als der im Ein-     ported as assets is currently significantly lower
zelabschluss 2022 angesetzte Buchwert. Dies resul-    than the book value stated in the individual fi-
tiert aus dem Umstand, dass die Tochtergesellschaf-   nancial statements 2022. This results from the
ten der Schuldnerin derzeit nicht in der Lage sind,   fact that the Debtor’s subsidiaries are currently
die Darlehensrückzahlungen gegenüber MGG zu           unable to make the loan repayments to MGG.
leisten. Die Beseitigung der Verluste durch andere    The elimination of the losses through other
im Zusammenhang mit der Kapitalherabsetzung be-       measures intended in connection with the cap-
absichtigte Maßnahmen, wird im Rahmen dieser          ital reduction is not taken into account in the
Betrachtung nicht mit berücksichtigt (vgl. Scholz,    context of this consideration (cf. Scholz, in:
in: Münchener Handbuch des Gesellschaftsrechts,       Münchener Handbuch des Gesellschaftsrechts,
Bd. 4, AG, 5. Aufl. 2020, § 62 Rn. 8).                Vol. 4, AG, 5th ed. 2020, Sec. 62 no. 8).


Barkapitalerhöhung                                    Cash capital increase


An die Kapitalherabsetzung auf null schließt sich     The capital reduction to zero is immediately
unmittelbar eine Kapitalerhöhung unter Bezugs-        followed by a capital increase with exclusion
rechtsausschluss der Planbetroffenen Aktionäre an.    of the subscription rights of the Plan-Affected
Hierzu soll das Grundkapital der Schuldnerin von      Shareholders. For this purpose, the share capi-
(sodann) EUR 0,00 durch Ausgabe von 120.000,00        tal of the Debtor shall be increased from (then)
neuen auf den Namen lautenden Stückaktien mit ei-     EUR 0.00     to    EUR 120,000     by     issuing
nem anteiligen Betrag am Grundkapital von je          120,000.00 new registered no-par value shares
EUR 1,00 („Neue Aktien“) auf EUR 120.000 er-          with a pro rata amount of the share capital of
höht werden.                                          EUR 1.00 each (“New Shares”).


Die Neuen Aktien werden gegen Bareinlage zum          The New Shares will be issued against cash
Ausgabebetrag von EUR 1,37 je Neuer Aktie (be-        contributions at an issue price of EUR 1.37 per
stehend aus dem anteiligen Betrag am Grundkapital     New Share (comprising the pro rata amount of
in Höhe von EUR 1,00 je Neuer Aktie und einem         the share capital of EUR 1.00 per New Share
korporationsrechtlichen Agio im Sinne von § 272       and a corporate share premium within the


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Abs. 2 Nr. 1 HGB in Höhe von EUR 0,37 je Neuer        meaning of Sec. 272 (2) no. 1 HGB of
Aktie), das heißt zu einem Gesamtausgabebetrag        EUR 0.37 per New Share), i. e., at a total issue
von insgesamt EUR 164.400,00, ausgegeben.             price of EUR 164,400.00.


Die Kapitalerhöhung erfolgt unter Ausschluss des      The capital increase will be carried out under
Bezugsrechts der Planbetroffenen Aktionäre. Zur       exclusion of the subscription rights of the plan-
Zeichnung und Übernahme der Neuen Aktien wird         affected shareholders. Only MGG Investor will
allein MGG Investor zugelassen. MGG Investor hat      be admitted to subscribe and acquire the New
sich gemäß der als Anlage 8 beigefügten Zeich-        Shares. MGG Investor has undertaken to sub-
nungszusage gemäß § 15 Abs. 3 StaRUG unter der        scribe for the New Shares pursuant to the sub-
aufschiebenden Bedingung der Bestätigung dieses       scription commitment attached as Annex 8
Restrukturierungsplans verpflichtet, die Neuen Ak-    pursuant to Sec. 15 (3) StaRUG, subject to the
tien zu zeichnen. MGG Investor wird mit Durchfüh-     condition precedent of the confirmation of this
rung der Kapitalerhöhung alleiniger Aktionär der      Restructuring Plan. MGG Investor will become
Schuldnerin.                                          the sole shareholder of Debtor upon implemen-
                                                      tation of the capital increase.


Der Ausschluss des gesetzlichen Bezugsrechts der      The exclusion of the statutory subscription
bisherigen Aktionäre ist zulässig. Die Zulässigkeit   right of the existing shareholders is permissi-
dieses Bezugsrechtsausschlusses folgt bereits aus     ble. The admissibility of this exclusion of sub-
§ 7 Abs. 4 Satz 3 StaRUG, wonach der Restruktu-       scription rights already follows from Sec. 7 (4)
rierungsplan insbesondere den Ausschluss von Be-      sent. 3 StaRUG, according to which the Re-
zugsrechten vorsehen kann. Daher bedarf es nach       structuring Plan may provide for the exclusion
überwiegender Meinung im Schrifttum im Einklang       of subscription rights. Therefore, according to
mit der ganz herrschenden Meinung zum Insolvenz-      the prevailing opinion in the literature in line
planrecht in einem Restrukturierungsplan keiner       with the thoroughly prevailing opinion to insol-
gesonderten sachlichen Rechtfertigung des Bezugs-     vency plan law, there is no need for a separate
rechtsausschlusses.                            Die    objective justification of the exclusion of sub-
restrukturierungsrechtlichen   Schutzmechanismen      scription rights in a Restructuring Plan. The
des    StaRUG         verdrängen   insoweit     die   protective mechanisms under restructuring law
gesellschaftsrechtlichen Wertungen und Vorgaben       of the StaRUG supersede the evaluations and
(statt vieler Skauradszun, ZRI 2020, 625, 631;        requirements under corporate law in this re-
Tresselt, in: Morgen, StaRUG, 2. Aufl. 2022, § 7      spect (instead of many, Skauradszun, ZRI
Rn. 38 f. m.w.N.; Seibt, in: Seibt/Westpfahl, 2023,   2020, 625, 631; Tresselt, in: Morgen, StaRUG,
§ 7 Rn. 97 m.w.N.; Mulert/Steiner, NZG 2021, 673,     2. Aufl. 2022, § 7 Rn. 38 f. with further refe-
677; Skauradszun/Blum, NZI 2022, 31, 32).             rences; Seibt, in: Seibt/Westpfahl, 2023, § 7
                                                      Rn. 97 with further references; Mulert/Steiner,
                                                      NZG 2021, 673, 677; Skauradszun/Blum, NZI
                                                      2022, 31, 32).




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Der Ausschluss des gesetzlichen Bezugsrechts der        The exclusion of the statutory subscription
Planbetroffenen Aktionäre ist jedoch auch unter         right of the Plan-Affected Shareholders, how-
Zugrundelegung       der    gesellschaftsrechtlichen    ever, is objectively justified also based on the
Vorgaben der höchstrichterlichen Rechtsprechung         corporate law requirements of the German fed-
sachlich gerechtfertigt, da er einen legitimen Zweck    eral court case law, as it pursues a legitimate
verfolgt und zur Erreichung des legitimen Zwecks        purpose and is suitable, necessary and appro-
geeignet, erforderlich und angemessen ist.              priate to achieve the legitimate purpose.


Eine Kapitalerhöhung gegen Bezugsrecht wäre             A capital increase against subscription rights
nicht geeignet gewesen, die für die Sanierung der       would not have been suitable for raising the
Gesellschaft erforderlichen Mittel aufzunehmen.         funds required to restructure Debtor. Firstly,
Zunächst stand die erforderliche Zeit für die Erstel-   the time required for the preparation and regu-
lung und behördliche Prüfung eines Wertpapier-          latory review of a securities prospectus was not
prospekts nicht zur Verfügung. Zudem waren alle         available. In addition, all attempts by manage-
Versuche des Managements und des Verwaltungs-           ment and the administrative board to convince
rats, die bisherigen Aktionäre von einer Teilnahme      the existing shareholders to participate in the
an der Kapitalmaßnahme in dem erforderlichen            capital measure to the extent required had
Umfang zu überzeugen, sämtlich gescheitert. Vor         failed. Against this background, it is therefore
diesem Hintergrund ist somit nicht zu erwarten, dass    not to be expected that the Plan-Affected
die Planbetroffenen Aktionäre der Schuldnerin im        Shareholders will provide Debtor with suffi-
Rahmen einer Kapitalerhöhung genügend liquide           cient liquid funds in the context of a capital in-
Mittel zur Verfügung stellen, um die Fortführung        crease to ensure the continuation and restruc-
und Sanierung der Schuldnerin zu gewährleisten.         turing of Debtor. Due to the granting of the sub-
Aufgrund der Einräumung der Bezugsrechte allein         scription rights solely in favor of MGG Inves-
zugunsten von MGG Investor leistet diese als            tor, the latter shall make the required cash con-
Sanierungsbeitrag die erforderliche Bareinlage und      tribution and a liquidity injection either as cash
eine Liquiditätszufuhr entweder als Zuzahlung in        contribution to the free capital reserve of
die freie Kapitalrücklage der Schuldnerin oder in       Debtor or via the Interim Financing in the total
Form der Interim-Finanzierung in Gesamthöhe von         amount of more than USD 20,000,000 (inclu-
mehr als USD 20.000.000 (einschließlich Kapitaler-      sive of capital increase) as a restructuring con-
höhungsbetrag). Auf der Fremdkapitalseite verzich-      tribution. On the debt side, MGG also waives a
tet MGG zudem auf einen beträchtlichen Forde-           substantial amount of debt of estimated
rungsbetrag      von       voraussichtlich      über    USD 30,795,063.57 (consisting of the partial
USD 30.795.063,57 (bestehend aus dem Teilerlass         waiver of the MGG Loan in the estimated
des MGG-Darlehens in Höhe von voraussichtlich           amount of USD 16,943,800.85 and the waiver
USD 16.943.800,85 und dem Erlass der Zoosk-No-          of the Zoosk Notes in the estimated amount of
tes     in      Höhe       von       voraussichtlich    USD 13,851,262.72) and agrees to amend the
USD 13.851.262,72) und erklärt sich bereit, die Fi-     Financing Agreement in favor of Debtor. MGG
nanzierungsvereinbarung zugunsten der Schuldne-         and MGG Investor each make all these restruc-
rin anzupassen. All diese Sanierungsbeiträge ma-


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chen MGG und MGG Investor jeweils davon abhän-        turing contributions conditional on MGG In-
gig, dass MGG Investor alleiniger Aktionär der        vestor becoming the sole shareholder of
Schuldnerin wird.                                     Debtor.


Zuzahlung in die freie Kapitalrücklage                Cash contribution to the free capital reserve


MGG Investor hat sich mit der als Anlage 9 beige-     MGG Investor has undertaken to make an ad-
fügten Verpflichtungserklärung gemäß § 15 Abs. 3      ditional payment to the Debtor’s free capital re-
StaRUG unter der aufschiebenden Bedingung der         serves in the amount of up to USD 8,880,000,
rechtskräftigen Bestätigung dieses Restrukturie-      subject to the condition precedent of the legally
rungsplans dazu verpflichtet, eine Zuzahlung in die   binding confirmation of this Restructuring
freie Kapitalrücklage der Schuldnerin in Höhe von     Plan, in the declaration of commitment at-
bis zu USD 8.880.000 zu leisten. Die Zusage der       tached as Annex 9 pursuant to Sec. 15 (3)
Barzuzahlung hat MGG Investor an die Bedingung        StaRUG. MGG Investor has made the cash
geknüpft, alleiniger Aktionär der Schuldnerin zu      payment conditional upon becoming the sole
werden.                                               shareholder of the Debtor.


c)    Maßnahmen außerhalb des Restrukturie-           c)    Measures in addition to the Restruc-
      rungsplans                                            turing Plan


Zudem erfolgt eine Umstrukturierung des operati-      In addition, a restructuring of business opera-
ven Geschäftsbetriebs gemäß dem Umstrukturie-         tions is taking place pursuant to the Transfor-
rungsplan. Zentrale Elemente des Umstrukturie-        mation Plan. Central elements of the Transfor-
rungsplans sind die Auslagerung wesentlicher Teile    mation Plan are the outsourcing of significant
des Marketings sowie der technischen Entwicklung,     parts of marketing as well as technology engi-
Systempflege und des Kundenservices. Hiermit ist      neering, maintenance functions and most cus-
auch eine signifikante Reduzierung der Arbeitneh-     tomer service functions. This is also associated
mer in der Spark-Gruppe verbunden. Der Umstruk-       with a significant reduction in the number of
turierungsplan wird es der Spark-Gruppe ermögli-      employees in the Spark Group. The initiatives
chen, die Zahl der Mitarbeiter in den Bereichen       that the Transformation Plan encompasses will
Kundenbetreuung, Strategie und Produkt, Techno-       allow the Spark Group to reduce headcount
logie, Vertrieb und Marketing sowie allgemeiner       from nearly 250 employees to 60 employees
Verwaltung von fast 250 auf 60 zu reduzieren. Als     across customer care, strategy and product,
Ergebnis des Umstrukturierungsplans plant die         technology, sales and marketing and G&A. As
Spark-Gruppe, ihren Personalbestand auf etwa 60       a result of the Transformation Plan, Spark
Personen zu reduzieren, wobei die Hälfte der Mitar-   Group plans to reduce its headcount to roughly
beiter in den Vereinigten Staaten und die andere      60 individuals with half of its employees being
Hälfte in Deutschland tätig sein wird. Eine be-       based in the United States and half based in
stimmte Anzahl von Arbeitnehmern wird jedoch bei      Germany. A certain amount of employees will
einem der IT-Dienstleister der Spark-Gruppe, an das



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Teile des Geschäfts ausgelagert werden, weiterbe-      however be reemployed at one of the IT con-
schäftigt werden.                                      tractors of Spark Group to which parts of the
                                                       business are outsourced.


2.    Neue Finanzierung im Sinne von § 12 Sta-         2.    New financing within the meaning of
      RUG                                                    Sec. 12 StaRUG


Als Teil der Anpassung der Finanzierungsvereinba-      As part of the amendment of the Financing
rung mit MGG wird der Schuldnerin, der Zoosk,          Agreement with MGG the Debtor, Zoosk, Inc.
Inc. sowie der Spark Networks, Inc. als Darlehens-     and Spark Networks, Inc. are provided with an
nehmer eine weitere revolvierende Kreditlinie in       additional revolving credit facility in the maxi-
Höhe von maximal USD 10.000.000,00 eingeräumt.         mum amount of USD 10,000,000.00. As in the
Wie bisher wird die Schuldnerin für diese im Be-       past, Debtor will continue to be jointly liable
darfsfall durch die Spark Networks, Inc. oder die      for this revolving credit facility, which will be
Zoosk, Inc. in Anspruch genommene Kreditlinie als      drawn down by Spark Networks, Inc. or Zoosk,
weitere Darlehensnehmerin mit haften. Etwaig un-       Inc. if necessary, as additional borrower. Any
ter dieser Kreditlinie in Anspruch genommene Dar-      loan amounts drawn under this revolving credit
lehensbeträge werden zum 11. März 2027 zur Rück-       facility will become due for repayment on
zahlung fällig.                                        March 11, 2027.


Diese neue Kreditlinie soll der Spark-Gruppe zu-       This new credit facility is intended to provide
sätzliche Sicherheit bei unvorhergesehenen Ereig-      the Spark Group with additional security in the
nissen im Rahmen der Umsetzung des Gesamt-             event of unforeseen events as part of the imple-
Restrukturierungskonzepts nach Abschluss des           mentation of the overall restructuring concept
Restrukturierungsverfahrens bieten.                    following completion of the restructuring pro-
                                                       ceedings.


3.    Auswirkungen auf Arbeitnehmer                    3.    Effects on employees


Die unter vorstehendem Abschnitt B.IV.1.a) und         The plan-based measures outlined in Sec-
B.IV.1.b) dargestellten planbasierten Maßnahmen        tion B.IV.1.a) and B.IV.1.b) above have no im-
haben keine Auswirkungen auf Arbeitnehmer der          pact on employees of Debtor given that Debtor
Schuldnerin, da diese keine Arbeitnehmer hat.          has no employees.


Zu den arbeitnehmerbezogenen Maßnahmen inner-          Employee-related measures provided for in the
halb des Umstrukturierungsplans gehört, wie unter      Transformation Plan include, as described in
vorstehendem      Abschnitt B.IV.1.c)   beschrieben,   Section B.IV.1.c) above, reduction of head-
eine Reduktion des Personalbestands von fast 250       count from nearly 250 employees to 60 and re-
auf 60 sowie eine Übernahme eines Teils der Arbeit-    hiring of a certain amount of employees by one
nehmer durch einen der IT-Dienstleister der Spark-     of the IT contractors of Spark Group.
Gruppe.


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4.    Auswirkungen auf verbundene Unterneh-            4.    Effects on affiliated companies with
      men bezüglich von ihnen gestellter Sicher-             regard to collateral provided by them
      heiten, die in den Restrukturierungsplan               that is included in the Restructuring
      einbezogen werden                                      Plan


Alle verbundenen Unternehmen im Sinne von § 15         All affiliated entities in the meaning of Sec. 15
AktG sind Begünstigte dieses Restrukturierungs-        AktG may be beneficiaries of this Restructur-
plans in Bezug auf die Schuldnerin (als oberste Hol-   ing Plan regarding Debtor (being the top-level
dinggesellschaft der Spark-Gruppe) und der vom         holding company of Spark Group) and of the
Restrukturierungsgericht    zu   erlassenden    Be-    related court orders to be issued by the Restruc-
schlüsse. Dies gilt insbesondere für diejenigen Mit-   turing Court. This is in particular the case for
glieder der Spark-Gruppe, die gesamtschuldnerisch      those members of the Spark Group that are
(zusammen mit der Schuldnerin) für die Darlehens-      jointly and severally liable (together with
verbindlichkeiten aus der Finanzierungsvereinba-       Debtor) with respect to the loan liabilities un-
rung haften. Solche Mitschuldner aus der Finanzie-     der the Financing Agreement. Such co-borrow-
rungsvereinbarung sind Spark Networks, Inc. und        ers under the Financing Agreement are Spark
Zoosk, Inc. Darüber hinaus sind Spark Networks         Networks, Inc. and Zoosk, Inc. In addition,
Services GmbH, Spark Networks USA, LLC,                guarantors under the Financing Agreement are
Smooch Labs, Inc., Minglematch, Inc., Spark Net-       Spark Networks Services GmbH, Spark Net-
works Limited, und Lov USA, LLC Garanten im            works USA, LLC, Smooch Labs, Inc., Mingle-
Rahmen der Finanzierungsvereinbarung.                  match, Inc., Spark Networks Limited, and Lov
                                                       USA, LLC.


Die Schuldnerin ist das einzige Unternehmen der        Debtor is the only entity which submits this Re-
Spark-Gruppe, das diesen Restrukturierungsplan         structuring Plan and, thus, which is formally a
vorlegt und damit formal Beteiligte des Verfahrens     party before the Restructuring Court. Nonethe-
gemäß StaRUG ist. Dennoch profitieren die übrigen      less, the other members of the Spark Group (in-
Mitglieder der Spark-Gruppe unmittelbar von den        cluding Spark Networks, Inc. and Zoosk, Inc.)
Rechtswirkungen dieses Restrukturierungsplans,         directly benefit from the legal effects of this
insbesondere von einer Schuldenreduzierung in Be-      Restructuring Plan, in particular from a debt re-
zug auf Verbindlichkeiten, für die das betreffende     duction with respect to liabilities for which the
Konzernunternehmen Mitschuldner oder Garant ist.       group company concerned is a co-borrower or
Aus diesem Grund sind auch Spark Networks, Inc.        a guarantor. For this reason, also Spark Net-
and Zoosk, Inc. (zusammen mit den Garanten) von        works, Inc. and Zoosk, Inc. (along with the
diesem Restrukturierungsplan betroffen. Im Zusam-      guarantors) are subject to this Restructuring
menhang mit diesem Restrukturierungsplan wirken        Plan: In connection with this Restructuring
die Beschlüsse des Restrukturierungsgerichts auch      Plan, also those entities that are not the formal
zu Gunsten derjenigen Gesellschaften der Spark-        applicant with respect to this Restructuring
Gruppe, die nicht der formale Antragsteller im Hin-    Plan benefit from the orders of the Restructur-
blick auf diesen Restrukturierungsplan sind; allge-


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mein gesprochen sind sämtliche der o. g. Gesell-     ing Court; generally speaking, all of the afore-
schaften insoweit von der Entscheidungsgewalt des    mentioned entities are subject to the jurisdic-
Restrukturierungsgerichts betroffen.                 tion of the Restructuring Court in this respect.


Die konkreten Auswirkungen für die Gesellschaften    The specific implications for the Spark-Group
der Spark-Gruppe in Bezug auf die Modifizierung      entities with regard to the modification of the
des MGG-Darlehens ergeben sich aus dem Gestal-       MGG Loan can be found in the Formative Part
tenden Teil unter Abschnitt C.II.1.a).               under Section C.II.1.a).


V.    Angaben zu den Planbetroffenen                 V.    Information on the Plan-Affected Par-
                                                           ties


1.    Identität der Planbetroffenen                  1.    Identity of the Plan-Affected Parties


Planbetroffene Finanzgläubiger sind die folgenden    Plan-Affected Financial Creditors are the fol-
MGG-Gesellschaften:                                  lowing MGG entities:


     MGG Specialty Finance Fund II LP,                   MGG Specialty Finance Fund II LP,


     MGG SF Evergreen Fund LP,                           MGG SF Evergreen Fund LP,


     MGG SF Evergreen Unlevered Fund LP,                 MGG SF Evergreen Unlevered Fund LP,


     MGG Insurance Fund Series Interests of the          MGG Insurance Fund Series Interests of
      SALI Multi-Series Fund, LP,                          the SALI Multi-Series Fund, LP,


     MGG SF Evergreen Master Fund (Cayman)               MGG SF Evergreen Master Fund (Cay-
      LP                                                   man) LP


     MGG SF Evergreen Unlevered Master                   MGG SF Evergreen Unlevered Master
      Fund II (Cayman) LP,                                 Fund II (Cayman) LP,


     MGG Canada Fund LP,                                 MGG Canada Fund LP,


     MGG Onshore Funding II LLC,                         MGG Onshore Funding II LLC,


     MGG SF Drawdown Unlevered Fund II                   MGG SF Drawdown Unlevered Fund II
      (Luxembourg) SCSp,                                   (Luxembourg) SCSp,




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     MGG SF Drawdown Unlevered Fund III                    MGG SF Drawdown Unlevered Fund III
      (Luxembourg) SCSp,                                     (Luxembourg) SCSp,


     MGG Offshore Funding I LLC,                           MGG Offshore Funding I LLC,


     MGG SF Evergreen Unlevered Fund 2020                  MGG SF Evergreen Unlevered Fund
      LP,                                                    2020 LP,


     MGG SF Drawdown Unlevered Fund III LP,                MGG SF Drawdown Unlevered Fund III
                                                             LP,


     MGG SF Drawdown Unlevered Master                      MGG SF Drawdown Unlevered Master
      Fund III (Cayman) LP.                                  Fund III (Cayman) LP.


Da die vorgenannten MGG-Gesellschaften die           Having acquired the Zoosk Notes (see in more
Zoosk-Notes erworben haben (hierzu sogleich unter    detail Section B.V.2. below), the aforemen-
nachstehendem Abschnitt B.V.2.), sind sie zugleich   tioned MGG entities are also Plan-Affected Fi-
Planbetroffene Finanzgläubiger in Ansehung der       nancial Creditors with respect to the Zoosk
Zoosk-Notes. Die MGG-Gesellschaften haben die        Notes. The MGG entities hereby acquired the
Zoosk-Notes hierbei im selben internen Verhältnis    Zoosk Notes in the same internal allocation ra-
erworben, das auch auf die interne Forderungsauf-    tio that applies to the internal allocation of the
teilung des MGG-Darlehens Anwendung findet.          MGG Loan receivable.


Planbetroffene Aktionäre sind die folgenden, der     Plan-Affected Shareholders are the following
Schuldnerin zuletzt bekannten Aktionäre der          shareholders of Debtor last known to Debtor:
Schuldnerin:


     BeCon AG                                              BeCon AG


     The Bank of New York Mellon SA/NV                     The Bank of New York Mellon SA/NV


     Bank of New York Mellon Corp ADR                      Bank of New York Mellon Corp ADR


     Florinda Invest GmbH                                   Florinda Invest GmbH


     Libola Invest UG (haftungsbeschränkt)                 Libola Invest UG (haftungsbeschränkt)


     Clearstream Banking S.A. (Legitimationsak-            Clearstream Banking S.A. (legitimation
      tionär, § 67 Abs. 4 AktG)                              shareholder, Sec. 67 Abs. 4 AktG)



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        The Bank of New York Mellon SA/NV (Le-             The Bank of New York Mellon SA/NV
         gitimationsaktionär, § 67 Abs. 4 AktG)              (legitimation      shareholder,      Sec. 67
                                                             Abs. 4 AktG)


Im Rahmen der oben im Abschnitt B.I.5 beschriebe-     Within the context of a so-called ADS struc-
nen ADS-Struktur wurden die Rechte an den von         ture, described in Section B.I.5., the rights to
Bank NY Mellon als Depotbank gehaltenen Aktien        the shares in Debtor held by Bank NY Mellon
an der Schuldnerin über die Nasdaq einer Vielzahl     as depository bank were offered to a large num-
von Investoren angeboten.                             ber of investors via Nasdaq.


2.       Auswahl der Planbetroffenen                  2.     Selection of the Plan-Affected Parties


Gemäß § 8 S. 1 StaRUG hat die Auswahl der Plan-       Pursuant to Sec.8 sent. 1 StaRUG, the selection
betroffenen nach sachgerechten Kriterien zu erfol-    of the Plan-Affected Parties must be based on
gen. Dabei hat der Schuldner ein Ermessen, welche     appropriate criteria. In doing so, Debtor has
Planbetroffenen er auswählt. Gemäß § 8 S. 2 Nr. 2     discretion as to which Plan-Affected Parties it
StaRUG ist die Auswahl sachgerecht, wenn die in       selects. Pursuant to Sec. 8 sent. 2 no. 2
der Auswahl angelegte Differenzierung nach der        StaRUG, the selection is appropriate if the dif-
Art der zu bewältigenden wirtschaftlichen Schwie-     ferentiation applied in the selection shall be ap-
rigkeiten des Schuldners und den Umständen ange-      propriate to the nature of Debtor's economic
messen erscheint, insbesondere, wenn ausschließ-      difficulties to be overcome and the circum-
lich Finanzverbindlichkeiten und die zu deren Si-     stances, in particular if only financial liabilities
cherung bestellten Sicherheiten gestaltet werden.     and the collateral provided to secure them are
Vorliegend werden neben den Planbetroffenen Ak-       structured. Here, aside from the Plan-Affected
tionären     ausschließlich Finanzverbindlichkeiten   Shareholders, only financial liabilities and the
und die zu deren Sicherung bestellten Sicherheiten    collateral provided to secure them are restruc-
gestaltet. Forderungen von Kleingläubigern, insbe-    tured. Claims of small creditors, in particular
sondere Verbrauchern, Klein- und Kleinstunterneh-     consumers, small and micro enterprises or me-
men oder mittleren Unternehmen, bleiben vom           dium-sized enterprises, remain unaffected by
Restrukturierungsplan unberührt.                      the Restructuring Plan.


In den vorliegenden Restrukturierungsplan werden      Only the Plan-Affected Financial Creditors as
ausschließlich die Planbetroffenen Finanzgläubiger    creditors of financial liabilities of Debtor and
als Gläubiger von Finanzverbindlichkeiten der         Plan-Affected Shareholders are included in the
Schuldnerin sowie die Planbetroffenen Aktionäre       presented Restructuring Plan. They are, with-
einbezogen. Es handelt sich dabei ausnahmslos um      out exception, creditors of financial liabilities
Gläubiger von Finanzverbindlichkeiten der Schuld-     of Debtor.
nerin.




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Die unter vorstehendem Abschnitt B.V.1. genann-       The MGG entities enumerated under Sec-
ten MGG-Gesellschaften werden hierbei als Planbe-     tion B.V.1. above are included in the Restruc-
troffene Finanzgläubiger hinsichtlich des MGG         turing Plan as Plan-Affected Financial Credi-
Darlehens sowie hinsichtlich der Zoosk-Notes in       tors both with respect to the MGG Loan and the
den Restrukturierungsplan einbezogen. Die Ver-        Zoosk Notes. The liabilities of Debtor vis-à-vis
bindlichkeiten der Schuldnerin aus den Zoosk-No-      the so-called Zoosk noteholders in the current
tes in Höhe von aktuell USD 13.710.109,97 resul-      amount of USD 13,710,109.97 result from the
tieren aus dem Erwerb der Zoosk, Inc. im Jahr 2019.   acquisition of Zoosk, Inc. in 2019. They existed
Sie bestanden bis zu ihrem Erwerb durch MGG ge-       to former shareholders of Zoosk, Inc., up until
genüber ehemaligen Gesellschaftern der Zoosk, Inc.    the purchase of the Zoosk Notes by MGG and
und sind aufgrund einer bestehenden Vereinbarung      are subordinated to the MGG Loan debt of
mit MGG nachrangig gegenüber der Darlehensver-        Debtor to MGG.
bindlichkeit der Schuldnerin gegenüber MGG.


Verzichtet wird demgegenüber auf die Einbezie-        Also refrained from is the inclusion of MGG
hung von MGG Investment Group LP, die im Fall         Investment Group LP, which, in the event of
einer Insolvenz als Sicherheitenagentin der MGG-      insolvency, as collateral agent of the MGG en-
Gesellschaften über ein Absonderungsrecht in Form     tities, would have a severance right (Absonder-
der an MGG verpfändeten Anteile der Schuldnerin       ungsrecht) in the form of Debtor 's shares in its
an ihren Tochtergesellschaften verfügen würde.        subsidiaries pledged to MGG. It is true that in
Zwar wäre im Falle der Einbeziehung der MGG In-       the event of the inclusion of MGG Investment
vestment Group LP eine weitere Gruppe der abson-      Group LP, a further group of creditors entitled
derungsberechtigten Gläubiger zu bilden. Im Innen-    to severance rights (Absonderungsrechte)
verhältnis stehen die von MGG Investment Group        would have to be formed. In the intercompany
LP gehaltenen Sicherheiten aber ausschließlich den    relationship, however, collateral held by MGG
MGG-Gesellschaften zu, die bereits als einfache       Investment Group LP as collateral agent is ex-
Restrukturierungsgläubiger in die Abstimmung          clusively attributable to the MGG entities,
über den Restrukturierungsplan einbezogen sind.       which are already included in the vote on the
Zudem wäre MGG Investment Group LP hinsicht-          Restructuring Plan as simple restructuring
lich der Ausübung des Stimmrechts in der Abstim-      creditors. In addition, MGG Investment Group
mung über den Restrukturierungsplan an die Wei-       LP would be bound by the instructions of the
sung der MGG-Gesellschaften gebunden. Es er-          MGG entities with regard to the exercise of the
scheint daher unzweckmäßig, (mittelbar) dieselben     voting right in the vote on the Restructuring
Gläubiger mit demselben wirtschaftlichen Interesse    Plan. It therefore appears inexpedient to admit
in einer weiteren Gruppe zur Abstimmung zuzulas-      (indirectly) the same creditors with the same
sen.                                                  economic interest in another group to the vote.




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Ebenfalls nicht in den Restrukturierungsplan einbe-    Furthermore, creditors with respect to the oper-
zogen werden Gläubiger in Bezug auf den operati-       ating business of Debtor such as suppliers and
ven Geschäftsbetrieb der Schuldnerin wie Lieferan-     service providers are also not included in the
ten und Dienstleister.                                 Restructuring Plan.


3.    Einteilung der Planbetroffenen in Grup-          3.    Allocation of the Plan-Affected Par-
      pen                                                    ties into groups


Für Zwecke der Abstimmung über den vorgeschla-         For the purpose of voting on the presented Re-
genen Restrukturierungsplan sollen drei Gruppen        structuring Plan, three groups shall be formed.
gebildet werden.


Die erste Gruppe besteht ausschließlich aus den        The first group consists solely of the Plan-Af-
Planbetroffenen Finanzgläubigern als einfache          fected Financial Creditors as simple restructur-
Restrukturierungsgläubiger. Es handelt sich dabei      ing creditors. This includes the MGG entities
um die MGG-Gesellschaften, welche Gläubiger des        which are creditors of Debtor which, with re-
MGG-Darlehens gegenüber der Schuldnerin sind.          spect to the MGG Loan.


Die zweite Gruppe besteht ebenfalls ausschließlich     The second group shall consist of the MGG en-
aus den MGG-Gesellschaften als Planbetroffene Fi-      tities as Plan-Affected Financial Creditors as
nanzgläubiger, jedoch in ihrer Eigenschaft als Inha-   well, though in their capacity as holder of the
ber der Zoosk-Notes. Es besteht ein wirtschaftliches   Zoosk Notes. There is an economic interest in
Interesse daran, eine weitere Gruppe zu bilden, weil   forming a further group because the claims
die Forderungen aus den Zoosk-Notes im Verhältnis      from the Zoosk Notes against Debtor are sub-
zu den Forderungen aus dem MGG-Darlehen nach-          ordinate in relation to MGG's claims against
rangig sind. Zudem ist Schuldner der Verbindlich-      Debtor. In addition, Debtor alone is debtor of
keiten aus den Zoosk-Notes allein die Schuldnerin,     the liabilities from the Zoosk Notes, while
während die Schuldnerin nur eine von mehreren          Debtor is only one of several liable parties for
Haftenden für das MGG-Darlehen ist.                    the MGG Loan.


Die dritte Gruppe wird aus den Planbetroffenen Ak-     The third group shall consist of the Plan-Af-
tionären der Schuldnerin gebildet.                     fected Shareholders.


Die Bildung einer weiteren Gruppe der Planbe-          The formation of an additional group of the
troffenen Finanzgläubiger als Inhaber von gruppen-     Plan-Affected Creditors as holders of intra-
internen Drittsicherheiten für das MGG-Darlehen        group third-party collateral for the MGG Loan
gemäß § 9 Abs. 1 S. 3 StaRUG ist nicht erforder-       pursuant to Sec. 9 (1) sent. 3 StaRUG is not
lich, unterbleibt zumindest aber aus Vereinfa-         necessary, but is at least omitted for reasons of
chungsgründen, da in sämtlichen Gläubigergruppen       simplification, since only MGG would be enti-
ausschließlich MGG stimmberechtigt wäre (nur in


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der Gruppe der Planbetroffenen Aktionäre stimmen          tled to vote in all creditor groups (Plan-Af-
andere Planbetroffene als MGG ab). Gegen das Er-          fected Parties other than MGG do only vote in
fordernis einer eigenen Gruppe gemäß § 9 Abs. 1           the group of the Plan-Affected Shareholders).
S. 3 StaRUG spricht, dass die Planbetroffenen Fi-         An argument against the requirement of a sep-
nanzgläubiger auf etwaig aus § 2 Abs. 4 StaRUG re-        arate group pursuant to Sec. 9 (1) sent. 3
sultierende Rechte verzichten. Darüber hinaus sind        StaRUG is that the Plan-Affected Financial
die Planbetroffenen Finanzgläubiger nach Maßgabe          Creditors waive any rights resulting from
ihres jeweiligen Anteils am MGG-Darlehen in glei-         Sec. 2 (4) StaRUG. In addition, the Plan-Af-
chem Maße durch den Teilforderungserlass des              fected Financial Creditors are affected to the
MGG-Darlehens betroffen und daher bereits in              same extent by the partial waiver of the MGG
Gruppe 1 stimmberechtigt. Würde eine gesonderte           Loan in accordance with their respective share
Gruppe    der   Drittsicherheiteninhaber      gebildet,   of the MGG Loan and are therefore already en-
würde in beiden Gruppen zusammen das Stimmge-             titled to vote in Group 1. If a separate group of
wicht der Planbetroffenen Finanzgläubiger höchs-          third-party collateral holders were formed, the
tens dem Nominalbetrag der Forderungen aus dem            voting weight of the Plan-Affected Financial
MGG-Darlehen entsprechen (vgl. Brünkmans in:              Creditors in both groups together would corre-
Jacoby/Thole, StaRUG, 1. Aufl. 2023, § 9 Rn. 23;          spond at most to the nominal amount of the
Begr. RegE, BT-Drucks. 19/24181, S. 125 f.). Vor          claims under the MGG Loan (cf. Brünkmans
diesem Hintergrund rechtfertigt sich zur Vereinfa-        in: Jacoby/Thole, StaRUG, 1st ed. 2023, Sec. 9
chung die Zusammenfassung der Planbetroffenen             no. 23; Begr. RegE, BT-Drucks. 19/24181,
Finanzgläubiger in Bezug auf das MGG-Darlehen             p. 125 f.). Against this background, the pooling
in einer einzigen Gruppe, d.h. in Gruppe 1.               of the Plan-Affected Financial Creditors in re-
                                                          lation to the MGG Loan into a single group, i.e.
                                                          Group 1, is justified for the purpose of simpli-
                                                          fication.


4.    Vorgesehene      Restrukturierungsbeiträge          4.    Planned restructuring contributions
      nach Gruppen                                              by group


Gruppe 1 der Planbetroffenen wird die folgenden           Group 1 of the Plan-Affected Parties will make
Restrukturierungsbeiträge erbringen:                      the following contributions to restructuring:


     ein Teilforderungserlass der Darlehensver-                a partial waiver of claims for the loan li-
      bindlichkeiten der Spark-Gruppe aus dem                    abilities of Spark Group deriving from
      MGG-Darlehen gegenüber MGG, soweit sie                     the MGG Loan to the extent such claims
      zum Zeitpunkt der gerichtlichen Bestätigung                exceed USD 100,000,000.00 at the time
      dieses                Restrukturierungsplans               of the court confirmation of the Restruc-
      USD 100.000.000,00 übersteigen, d.h. vo-                   turing Plan, i.e. an estimated total
      raussichtlich insgesamt USD 16.943.800,85                  amount of USD 16,943,800.85 (incl. In-
      (inkl. Interim-Finanzierung und aufgelaufe-                terim Financing and accrued interest),
                                                                 which, for the avoidance of doubt, do


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      ner Zinsen), wobei sich der Teilforderungser-             not include any new obligations in-
      lass nicht auf Darlehensverbindlichkeiten be-             curred under the Interim Financing;
      zieht, die aufgrund der Interim-Finanzierung
      entstehen;


      eine Anpassung der Covenants der Finanzie-             a modification of covenants of the Fi-
       rungsvereinbarung mit MGG, die Wieder-                  nancing Agreement with MGG, as the
       herstellung der Finanzierungsvereinbarung               reinstatement of the remaining financing
       im Übrigen mit einem reduzierten Zinssatz               agreement with a reduced interest rate of
       von SOFR+8,50 Prozentpunkte, einem hin-                 SOFR+8.50 percentage points, a post-
       ausgeschobenen Tilgungsplan und der ur-                 poned amortization schedule and the
       sprünglichen Laufzeit des MGG-Darlehens                 original maturity ending on March 11,
       bis 11. März 2027 sowie das Einräumen ei-               2027 as well as the provision of a new
       ner neuen revolvierenden Kreditlinie in Höhe            revolving credit facility in the maximum
       von maximal USD 10.000.000,00 durch                     amount of USD 10,000,000.00 by MGG
       MGG nach Abschluss des StaRUG-Verfah-                   after going through the StaRUG process.
       rens.


Gruppe 2 der Planbetroffenen wird folgenden Rest-        Group 2 of the Plan-Affected Parties will make
rukturierungsbeitrag erbringen:                          the following contribution to restructuring:


      ein vollständiger Forderungserlass betref-             a full waiver of claims regarding the
       fend die Zoosk-Notes.                                   Zoosk Notes.


Gruppe 3 der Planbetroffenen wird folgenden Rest-        Group 3 of the Plan-Affected Parties will make
rukturierungsbeitrag erbringen:                          the following contribution to restructuring:


     eine vereinfachte Kapitalherabsetzung auf               a simplified capital decrease to zero and
      null und damit Ausscheiden der Planbetroffe-             thus the exit of the Plan-Affected Share-
      nen Aktionäre.                                           holders.


5.    Angaben zu den Stimmrechten                        5.    Information on voting rights


Zur Annahme des Restrukturierungsplans ist grund-        For the adoption of the Restructuring Plan, gen-
sätzlich erforderlich, dass in jeder Gruppe auf die in   erally it is necessary that in each group at least
dem Restrukturierungsplan zustimmenden Grup-             three quarters of the voting rights in that group
penmitglieder mindestens drei Viertel der Stimm-         are held by the group members voting in favor
rechte in dieser Gruppe entfallen.                       of the Restructuring Plan.


Die Planbetroffenen Finanzgläubiger in Gruppe 1          With regard to the MGG Loan, the Plan-Af-
stellen bezüglich des MGG-Darlehens eine Gruppe          fected Financial Creditors in Group 1 represent

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von Kreditgebern dar, die einem Konsortium ähnelt.   a group of lenders similar to a syndicate. The
Das Stimmrecht der einzelnen MGG-Gesellschaften      voting rights of the individual MGG entities in
in Gruppe 1 bestimmt sich nach ihrem jeweiligen      Group 1 amount to their respective share in the
Anteil am MGG- Darlehen (inkl. bis zur Planvor-      MGG Loan (incl. accrued interest and already
lage aufgelaufener Zinsen und bereits abgerufener    drawn amounts of the Interim Financing at the
Beträge der Interim-Finanzierung). Die hieraus ab-   time of the plan submission). The voting rights
zuleitenden Stimmrechte der Planbetroffenen Fi-      of the Plan-Affected Financial Creditors in
nanzinvestoren in Gruppe 1 ergeben sich im Einzel-   Group 1 resulting thereof are shown in detail in
nen aus der als Anlage 10 beigefügten Stimmrechts-   the voting rights list attached hereto as An-
liste.                                               nex 10.


Die Stimmrechte der Planbetroffenen Finanzgläubi-    The voting rights of the Plan-Affected Finan-
ger in Gruppe 2 bestimmen sich gleichermaßen be-     cial Creditors in Group 2 are determined in the
zogen auf den zum Zeitpunkt der Planvorlage aus-     same way in relation to the amount of Zoosk
stehenden Betrag der Zoosk-Notes. Die hieraus ab-    Notes outstanding at the time this Restructur-
zuleitenden Stimmrechte der Planbetroffenen Fi-      ing Plan is submitted. The voting rights of the
nanzinvestoren in Gruppe 2 ergeben sich im Einzel-   Plan-Affected Financial Creditors in Group 2
nen aus der als Anlage 10 beigefügten Stimmrechts-   resulting thereof are shown in detail in the vot-
liste.                                               ing rights list attached hereto as Annex 10.


Das Stimmrecht der Planbetroffenen Aktionäre in      The voting rights of the Plan-Affected Share-
Gruppe 3 bemisst sich nach ihrem Anteil am Grund-    holders in Group 3 is based on the share of each
kapital     der      Schuldnerin   in   Höhe   von   Plan-Affected Shareholder of the registered
EUR 2.661.385,00. Die hieraus abzuleitenden vo-      share     capital    of   Debtor   amounting          to
raussichtlichen Stimmrechte der Planbetroffenen      EUR 2,661,385.00. The expected voting rights
Finanzinvestoren in Gruppe 3 ergeben sich im Ein-    of the Plan-Affected Shareholders in Group 3
zelnen aus der als Anlage 10 beigefügten Stimm-      resulting thereof are shown in detail in the vot-
rechtsliste.                                         ing rights list attached hereto as Annex 10.


VI. Vergleichsrechnung zu den Befriedigungs-         VI. Comparative calculation of the pro-
         aussichten mit und ohne Restrukturie-               spects of satisfaction with and without
         rungsplan                                           Restructuring Plan


Eine von Ernst & Young GmbH Wirtschaftsprü-          A comparative calculation of the prospects of
fungsgesellschaft Strategy and Transactions er-      satisfaction with and without the Restructuring
stellte Vergleichsrechnung zu den Befriedigungs-     Plan prepared by Ernst & Young GmbH
aussichten mit und ohne Restrukturierungsplan ist    Wirtschaftsprüfungsgesellschaft Strategy and
dem Restrukturierungsplan als Anlage 11 beige-       Transactions is attached hereto as Annex 11.
fügt.




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Aus dieser Vergleichsrechnung ergibt sich, dass die       This comparative calculation shows that the
Planbetroffenen Aktionäre im einzig in Betracht           Plan-Affected Shareholders would probably
kommenden Vergleichsszenario einer Insolvenz vo-          receive no value in the only possible compari-
raussichtlich ebenso keine Zahlungen erhielten wie        son scenario of insolvency as they would under
unter den im Restrukturierungsplan vorgesehenen           the measures provided for in the Restructuring
Maßnahmen. MGG als Planbetroffener Finanzgläu-            Plan. MGG, as the Plan-Affected Financial
biger hat im Vorfeld bereits selbst abgewogen, wel-       Creditor, has already fully secured in advance
ches die für ihn wirtschaftlich sinnvollste Alterna-      itself, which is the most economically sensible
tive ist, und gelangte zum Entschluss, den vorlie-        alternative for MGG and came to the decision
genden Restrukturierungsplan zu unterstützen.             to support the present Restructuring Plan.


Dass einzig (noch) eine Insolvenz als Vergleichs-         The fact that insolvency is (yet) the only possi-
szenario in Betracht kommt, ergibt sich daraus, dass      ble comparison scenario results from the fact
die Schuldnerin die übrigen Möglichkeiten einer Sa-       that Debtor has already exhausted all other pos-
nierung bereits erfolglos ausgeschöpft hat. Hierzu        sibilities for restructuring without success. In
wird auf die Ausführungen in vorstehendem Ab-             this respect, reference is made to the explana-
schnitt B.III.1.e) verwiesen.                             tions in Section B.III.1.e) above.


VII. Gesetzliche Erklärungen                              VII. Mandatory declarations

1.    Beseitigung der drohenden Zahlungsunfä-             1.    Eliminating the threat of insolvency
      higkeit und Sicherstellung der Bestandsfä-                and ensuring viability
      higkeit


Die in diesem Restrukturierungsplan vorgesehenen          The measures provided for in this Restructur-
Maßnahmen       sind    geeignet,     die     drohende    ing Plan are suitable to eliminate the Debtor's
Zahlungsunfähigkeit der Schuldnerin zu beseitigen         imminent illiquidity and to ensure the viability
und   die    Bestandsfähigkeit      der     Schuldnerin   of Debtor (Sec. 14 (1) StaRUG). In this re-
sicherzustellen (§ 14 Abs. 1 StaRUG). Insoweit            spect, reference is made to Annex 3 (Statement
wird auf Anlage 3 (Erklärung zur Bestandsfähigkeit        of viability pursuant to Sec. 14 (1) StaRUG)
gemäß § 14 Abs. 1 StaRUG) und Anlage 12 (Er-              and Annex 12 (profit and financial plan pursu-
gebnis- und Finanzplan gemäß § 14 Abs. 2 Sta-             ant to Sec. 14 (2) StaRUG). Debtor’s ability to
RUG) verwiesen. Die Durchfinanzierung und Be-             finance itself and its viability as a holding com-
standsfähigkeit der Schuldnerin als Holdinggesell-        pany is derived from the ability of its operating
schaft ergibt sich hierbei aus der Durchfinanzierung      subsidiaries to finance themselves and their vi-
und Bestandsfähigkeit ihrer operativen Tochterge-         ability. For this reason, the Restructuring Plan
sellschaften. Aus diesem Grund wird dem Restruk-          is not supplemented by a profit and financial
turierungsplan kein Ergebnis- und Finanzplan auf          plan at the level of the individual companies,
Einzelgesellschaftsebene sondern eine konsolidierte       but by a consolidated plan at the level of the
Planung auf Gruppenebene zum Nachweis der


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Durchfinanzierung und Bestandsfähigkeit beige-           Spark Group to demonstrate the ability to fi-
fügt.                                                    nance and viability.


2.      Gewährleistung    der      Zahlungsfähigkeit     2.    Ensuring solvency during the restruc-
        während des Restrukturierungszeitraums                 turing period


Durch        Umsetzung       der       in     diesem     By implementing the measures provided for in
Restrukturierungsplan vorgesehenen Maßnahmen             this Restructuring Plan, the solvency of the
ist die Zahlungsfähigkeit der Schuldnerin während        Debtor is ensured during the period, during
des Zeitraums, während dessen die Gläubiger be-          which the creditors are to be satisfied
friedigt werden sollen, gewährleistet (§ 14 Abs. 2       (Sec. 14 (2) sent. 2 and 3 StaRUG).
Sätze 2 und 3 StaRUG).


Welche Aufwendungen und Erträge für den                  What expenses and income are to be expected
Zeitraum zu erwarten sind, während dessen die            for the period during which the creditors are to
Gläubiger befriedigt werden sollen, sowie welche         be satisfied, as well as what sequence of in-
Abfolge von Einnahmen und Ausgaben die Zah-              come and expenses will ensure the Debtor's
lungsfähigkeit der Schuldnerin in diesem Zeitraum        solvency during this period, can be seen from
gewährleisten, ergibt sich aus der als Anlage 2          the liquidity planning attached as Annex 2. In
beigefügten Liquiditätsplanung. Auch insoweit wird       this respect, reference is made to the Group
aus den vorgenannten Gründen auf die Gruppen-            level as well for the aforementioned reasons.
ebene abgestellt.


VIII. Erläuterung weiterer Regelungen des Ge-            VIII. Explanation of further regulations of
        staltenden Teils des Plans                             the Constructive Part of the plan


Weitere Regelungen sollen im Gestaltenden Teil           No further regulations shall be implemented in
des Restrukturierungsplans nicht getroffen werden.       the Constructive Part of the Restructuring Plan.




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C.    Gestaltender Teil                               C.     Constructive Part


I.    Gruppenbildung                                  I.     Group formation


Es werden folgende Gruppen gebildet:                  The following groups are formed:


     Gruppe 1: Planbetroffene Finanzgläubiger              Group 1: Plan-Affected Financial Cred-
      MGG bezüglich MGG-Darlehen;                            itors MGG with respect to MGG Loan;


     Gruppe 2: Planbetroffene Finanzgläubiger              Group 2: Plan-Affected Financial Cred-
      MGG bezüglich Zoosk-Notes;                             itors MGG with respect to Zoosk Notes;


     Gruppe 3: Planbetroffene Aktionäre der                Group 3: Plan-Affected Shareholders of
      Schuldnerin.                                           Debtor.


II.   Regelungen zur Änderung der Rechtsstel-         II.    Stipulations for changing the legal sta-
      lung der Planbetroffenen nach Gruppen                  tus of the Plan-Affected Parties by
                                                             group


Mit Wirksamkeit dieses Restrukturierungsplans         Upon effectiveness of this Restructuring Plan,
werden die Forderungen beziehungsweise Anteils-       the claims or share and membership rights of
und Mitgliedschaftsrechte der Planbetroffenen den     the Plan-Affected Parties shall be subject to the
folgenden Rechtsgestaltungen unterworfen:             following legal structures:


1.    Teilerlass und Anpassung MGG-Darlehen           1.     Partial waiver and amendment of
                                                             MGG Loan


Die unter vorstehendem Abschnitt B.V.1. aufgelis-     The Plan-Affected Financial Creditors listed in
teten Planbetroffenen Finanzgläubiger erlassen ihre   Section B.V.1. above shall waive their claims
Forderungen aus dem MGG-Darlehen gegen die            under the MGG Loan against the Debtor and
Schuldnerin und die anderen unter dem MGG-Dar-        the other members of the Spark Group jointly
lehen mithaftenden Mitglieder der Spark-Gruppe,       liable under the MGG Loan to the extent, as of
soweit sie am Tag der gerichtlichen Bestätigung des   the day of the court confirmation of the Re-
Restrukturierungsplans     einen    Betrag     von    structuring Plan, such claims exceed USD
USD 100.000.000,00 übersteigen d. h. voraussicht-     100,000,000.00, i.e. an estimated total amount
lich insgesamt USD 16.943.800,85 (inkl. Interim-      of USD 16,943,800.85 (incl. Interim Financing
Finanzierung und aufgelaufener Zinsen), wobei         and accrued interest), which, for the avoidance
(i) sich der Teilforderungserlass, auf den Teil der   of doubt, (i) such partial waiver shall be with
Darlehensverbindlichkeiten aus dem MGG-Darle-         respect to the portion of the existing loan liabil-
                                                      ities deriving from the MGG Loan existing


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hen bezieht, der bereits vor der Interim-Finanzie-     prior to the Interim Financing and (ii) the par-
rung bestand, und (ii) der Teilforderungserlass je-    tial waiver shall affect each of the Plan-Af-
den der unter vorstehendem Abschnitt B.V.1. aufge-     fected Financial Creditors listed in Sec-
listeten Planbetroffenen Finanzgläubiger pro rata      tion B.V.1. on a pro rata basis. The partial
betrifft. Der Teilforderungserlass des MGG-Darle-      waiver of the MGG Loan shall cease to be ef-
hens ist auflösend bedingt auf die Nichteintragung     fective (ist auflösend bedingt) if the capital in-
der in diesem Restrukturierungsplan vorgesehenen       crease provided for in this Restructuring Plan
Kapitalerhöhung in das Handelsregister der Schuld-     has not been registered with the commercial
nerin bis zum 29. Februar 2024, 24:00 Uhr (MEZ).       register of Debtor until February 29, 2024,
Die unter vorstehendem Abschnitt B.V.1. aufgelis-      24:00 hours (CET). The Plan-Affected Finan-
teten Planbetroffenen Finanzgläubiger verzichten in    cial Creditors listed in Section B.V.1. above
Bezug auf den Teilforderungserlass auf etwaig aus      shall waive any rights according to Sec. 2 (4)
§ 2 Abs. 4 StaRUG resultierende Rechte.                StaRUG with regard to the partial waiver.


Gemäß der als Anlage 5 beigefügten Verpflich-          Pursuant to the letter of undertaking attached
tungserklärung verpflichten sich MGG Investment        hereto as Annex 5, MGG Investment Group
Group LP sowie die Planbetroffenen Finanzgläubi-       LP as well as the Plan-Affected Financial Cred-
ger gegenüber der Schuldnerin und den weiteren         itors undertake vis-à-vis Debtor and the other
Parteien   der   Finanzierungsvereinbarung     vom     parties to the Financing Agreement dated
11. März 2022, ihre Rechte aus der Finanzierungs-      March 11, 2022 to adjust their rights under the
vereinbarung aufschiebend bedingt auf die Rechts-      Financing Agreement, subject to the condition
kraft der gerichtlichen Bestätigung dieses Restruk-    precedent of the court confirmation of this Re-
turierungsplans und die Durchführung der hierin        structuring Plan becoming final and the con-
vorgesehenen Kapitalmaßnahmen durch Eintragung         summation of the capital measures stipulated
im Handelsregister anzupassen. Die Tochtergesell-      herein by registration in the commercial regis-
schaften der Schuldnerin, die als Darlehensnehmer,     ter. The subsidiaries of Debtor, which are
Garanten oder sonstige Drittsicherheitengeber unter    jointly liable under the Financing Agreement
der Finanzierungsvereinbarung mithaften, haben in-     as borrowers, guarantors or other third-party
soweit korrespondierende, als Anlage 6 beigefügte      guarantors, made corresponding declarations in
Erklärungen abgegeben.                                 this respect, attached as Annex 6.


2.    Erlass der Zoosk-Notes                           2.    Waiver of Zoosk Notes


Die Planbetroffenen Finanzgläubiger erlassen ihre      The Plan-Affected Financial Creditors waive
Forderungen aus den Zoosk-Notes in voller Höhe.        their claims under the Zoosk Notes in full. The
Der Erlass der Zoosk Notes ist auflösend bedingt auf   waiver of the Zoosk Notes shall cease to be ef-
die Nichteintragung der in diesem Restrukturie-        fective (ist auflösend bedingt) if the capital in-
rungsplan vorgesehenen Kapitalerhöhung in das          crease provided for in this Restructuring Plan
Handelsregister der Schuldnerin bis zum 29. Feb-       has not been registered with the commercial
ruar 2024, 24:00 Uhr (MEZ).                            register of Debtor until February 29, 2024,
                                                       24:00 hours (CET).


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3.    Aktionäre                                          3.     Shareholders


Die Planbetroffenen Aktionäre stimmen den in Ab-         The Plan-Affected Shareholders agree to the
schnitt C.III. des Restrukturierungsplans geregelten     capital measures stipulated in Section C.III. of
Kapitalmaßnahmen zu und scheiden als bisherige           the Restructuring Plan and cease to be share-
Aktionäre vollständig aus.                               holders in full.


III. Gesellschaftsrechtliche Maßnahmen                   III. Corporate law measures

1.     Vereinfachte     Kapitalherabsetzung       auf    1.     Simplified capital decrease to zero
       null und gleichzeitige Erhöhung des her-                 and simultaneous increase of the re-
       abgesetzten Grundkapitals gegen Barein-                  duced share capital against cash con-
       lage mit Bezugsrechtsausschluss                          tribution with exclusion of subscrip-
                                                                tion rights


Das Grundkapital der Schuldnerin, das gegenwärtig        The registered share capital of Debtor, which
EUR 2.661.385,00 (in Worten: zwei Millionen              currently amounts to EUR 2,661,385.00 (in
sechshunderteinundsechzigtausend         dreihundert-    words: two million six hundred sixty one thou-
fünfundachtzig Euro) beträgt und in 2.661.385 (in        sand three hundred eighty five Euro) and is
Worten: zwei Millionen sechshunderteinundsech-           subdivided into 2,661,385 (in words: two mil-
zigtausend dreihundertfünfundachtzig) auf den Na-        lion six hundred sixty one thousand three hun-
men lautende Stückaktien eingeteilt ist, wird um         dred eighty five) registered no-par value
EUR 2.661,385,00 (in Worten: zwei Millionen              shares,      shall     be     decreased             by
sechshunderteinundsechzigtausend         dreihundert-    EUR 2,661,385.00 (in words: two million six
fünfundachtzig Euro) auf EUR 0,00 (in Worten:            hundred sixty one thousand three hundred
null Euro) herabgesetzt. Durch diese Herabsetzung        eighty five Euro) to EUR 0,00 (in words: zero
entfällt auf jede Stückaktie ein anteiliger Betrag des   Euro). As a result of this decrease, each no-par
Grundkapitals von EUR 0,00 statt wie bisher von          value share will account for a proportionate
EUR 1,00. Die Kapitalherabsetzung erfolgt nach           amount of the share capital of EUR 0.00 in-
den Vorschriften über die vereinfachte Kapitalher-       stead of EUR 1.00 as previously. The capital
absetzung (Art. 5 Verordnung (EG) Nr. 2157/2001          decrease is carried out in accordance with the
des Rates vom 8. Oktober 2001 über das Statut der        provisions on simplified capital reduction
Europäischen Gesellschaft (SE) i. V. m. §§ 229 ff.       (Art. 5 Council Regulation (EC) No 2157/2001
AktG) in voller Höhe zum Zwecke des Ausgleichs           of October 8, 2001 on the Statute for a Euro-
von Wertminderungen und zur Deckung sonstiger            pean company (SE) in conjunction with
Verluste (vgl. Abschnitt B.IV.1.b)). Die Kapitalher-     Sec. 229 et. seq. AktG in full for the purpose of
absetzung erfolgt soweit möglich durch Zusammen-         offsetting impairment losses and covering
legung der Aktien.                                       other losses (cf. Section B.IV.1.b)). To the ex-
                                                         tent possible, the capital reduction takes place
                                                         by amalgamation of shares.


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Der   Verwaltungsrat      der   Schuldnerin    wird   The Debtor’s administrative board is author-
ermächtigt, die weiteren Einzelheiten der Herabset-   ized to determine the further details of the re-
zung des Grundkapitals und ihrer Durchführung         duction of the share capital and its implemen-
festzusetzen.                                         tation.


Das Grundkapital der Schuldnerin wird sodann von      The registered share capital of Debtor shall
EUR 0,00        (in   Worten:   null   Euro)    um    thereafter be increased from EUR 0.00 (in
EUR 120.000,00 (in Worten: einhundertzwanzig-         words: zero Euro) by EUR 120,000.00 (in
tausend Euro) auf EUR 120.000,00 (in Worten: ein-     words: one hundred twenty thousand Euro) to
hundertzwanzigtausend Euro) durch Ausgabe von         EUR 120,000.00 (in words: one hundred
120.000 neuen, auf den Namen lautende Stückak-        twenty thousand Euro) by way of issuance of
tien erhöht. Die neuen Aktien mit je einem            120,000 new registered no-par value shares.
anteiligen Betrag am Grundkapital von EUR 1,00        The new shares, each with a pro rata amount of
werden zu einem Ausgabebetrag von EUR 1,37 je         the share capital of EUR 1.00, will be issued at
neuer Aktie ausgegeben. Der Ausgabebetrag setzt       an issue price of EUR 1.37 per new share. The
sich zusammen aus dem geringsten Ausgabebetrag        issue price comprises the minimum issue price
(§ 9 Abs. 1 AktG) in Höhe von EUR 1,00 und einem      of EUR 1.00 (Sec. 9 (1) AktG) and a corporate
durch Barleistung zu erbringenden korporations-       share premium within the meaning of
rechtlichen Agio im Sinne des § 272 Abs. 2 Nr. 1      Sec. 272 (2) no. 1 HGB of EUR 0.37 to be paid
HGB      in       Höhe    von    EUR 0,37.     Der    in cash. The total issue price for all 120,000
Gesamtausgabebetrag für sämtliche 120.000 aus der     shares resulting from the cash capital increase
Barkapitalerhöhung hervorgehenden Aktien beträgt      is therefore EUR 164,400.00.
mithin EUR 164.400,00.


Die aus der Barkapitalerhöhung hervorgehenden         The new shares resulting from the cash capital
neuen Aktien sind ab dem 1. Januar 2023 gewinn-       increase are entitled to dividends from Janu-
bezugsberechtigt.                                     ary 1, 2023.


Das Bezugsrecht der Planbetroffenen Aktionäre         The subscription rights of the Plan-Affected
wird ausgeschlossen. Zur Zeichnung aller neuen        Shareholders are excluded. Only
Aktien wird allein


      MGG SPV 33 LLC, eine nach dem Recht von                   MGG SPV 33 LLC, a limited liability
      Delaware gegründete Gesellschaft mit be-                  company incorporated under the laws of
      schränkter Haftung (Limited Liability Com-                Delaware, with its registered office in
      pany) mit Sitz in New York, Vereinigte Staa-              New York, United States,
      ten,


zugelassen.                                           will be admitted to subscribe for all new shares.




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Der    Gesamtausgabebetrag        (einschließlich    des   The total issue price (including the corporate
korporationsrechtlichen Agios) ist unmittelbar nach        share premium) is due for payment in full im-
Zeichnung       (Ausfertigung    eines   vollständigen     mediately after subscription (issue of a com-
Zeichnungsscheins) in voller Höhe zur Einzahlung           plete subscription certificate) and is to be paid
fällig und auf ein von der Schuldnerin zu                  into an account to be designated by the Debtor.
benennendes Konto einzuzahlen.


Der     Verwaltungsrat     der     Schuldnerin      wird   The Debtor’s administrative board is author-
ermächtigt, die weiteren Einzelheiten der Erhöhung         ized to determine the further details of the in-
des    Grundkapitals     und     ihrer   Durchführung      crease of the share capital and its implementa-
festzusetzen.                                              tion.


2.     Satzungsänderungen                                  2.      Amendment of the Articles of Associ-
                                                                   ation


a)     Änderung von Grundkapital und Aktien                a)      Amendment of share capital and
       in der Satzung der Schuldnerin                              shares in the Articles of Association of
                                                                   Debtor


§ 4 Abs. 1 und Abs. 2 der Satzung der Schuldnerin          To reflect the capital measures provided for in
wird in Anpassung an die in Abschnitt C.III.1. vor-        Section C.III.1., § 4 para. 1 and para. 2 of the
gesehenen Kapitalmaßnahmen geändert und wie                Articles of Association of Debtor is amended
folgt neu gefasst:                                         and restated as follows:


                         §4                                                        §4
      Höhe und Einteilung des Grundkapitals                Amount and Subdivision of the Share Capi-
                                                                                   tal


(1)    Das Grundkapital der Gesellschaft beträgt           (1)     The share capital of the Company
       EUR 120.000,00 (in Worten: einhundert-                      amounts to EUR 120,000.00 (in words:
       zwanzigtausend Euro).                                       one hundred twenty thousand Euro).


(2)    Das Grundkapital ist eingeteilt in 120.000 auf      (2)     The share capital of the Company is sub-
       den Namen lautende Stückaktien.                             divided into 120,000 registered no-par
                                                                   value shares.




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b)    Aufhebung des Genehmigten Kapitals                  b)      Cancellation of the Authorized Capi-
      2022 gemäß § 4 Abs. 3 der Satzung der                       tal 2022 pursuant to Art. 4 para. 3 of
      Schuldnerin                                                 the Articles of Association of Debtor


Die in § 4 Abs. 3 der Satzung der Schuldnerin             The authorization of the administrative board
erteilte Ermächtigung des Verwaltungsrats, das            granted in § 4 para. 3 of the Articles of Associ-
Grundkapital       um      bis     zu        insgesamt    ation of Debtor to increase the share capital by
EUR 1.064.554,00 durch Ausgabe von bis zu                 up to a total of EUR 1,064,554.00 by issuing up
1.064.554 neuen, auf den Namen lautenden                  to 1,064,554 new no-par value registered
Stückaktien       zu     erhöhen        (Genehmigtes      shares (Authorized Capital 2022) is cancelled.
Kapital 2022), wird aufgehoben.


§ 4 Abs. 3 der Satzung der Schuldnerin wird ersatz-       § 4 para. 3 of the Articles of Association of
los gestrichen.                                           Debtor shall be deleted without replacement.


c)    Aufhebung des Genehmigten Kapitals                  c)      Cancellation of the Authorized Capi-
      2020/I gemäß § 4 Abs. 4 der Satzung der                     tal 2020/I pursuant to Art. 4 para. 4 of
      Schuldnerin                                                 the Articles of Association of Debtor


Die in § 4 Abs. 4 der Satzung der Schuldnerin             The authorization of the administrative board
erteilte Ermächtigung des Verwaltungsrats, das            granted in § 4 para. 4 of the Articles of Associ-
Grundkapital um bis zu insgesamt EUR 266.138,00           ation of Debtor to increase the share capital by
durch Ausgabe von bis zu 266.138 neuen, auf den           up to a total of EUR 266,138.00 by issuing up
Namen     lautenden     Stückaktien     zu     erhöhen    to 266,138 new no-par value registered shares
(Genehmigtes Kapital 2020/I), wird aufgehoben.            (Authorized Capital 2020/I) is cancelled.


§ 4 Abs. 4 der Satzung der Schuldnerin wird ersatz-       § 4 para. 4 of the Articles of Association of
los gestrichen.                                           Debtor shall be deleted without replacement.


d)    Aufhebung des Bedingten Kapitals 2020/I             d)      Cancellation of Conditional Capital
      gemäß § 4 Abs. 5 der Satzung der Schuld-                    2020/I pursuant to Art. 4 para. 5 of
      nerin                                                       the Articles of Association of Debtor


Die von der ordentlichen Hauptversammlung der             The authorization granted by the Debtor’s or-
Schuldnerin am 29. Juli 2020 erteilte Ermächtigung        dinary general meeting of July 29, 2020 to is-
zur Ausgabe von Wandelschuldverschreibungen               sues convertible and/or option bonds as well as
und/oder Optionsschuldverschreibungen sowie die           the corresponding conditional increase of the
in diesem Zusammenhang in § 4 Abs. 5 der Satzung          share    capital    of   Debtor    by     up        to
der Schuldnerin geregelte bedingte Erhöhung des           EUR 1,330,692.00 by issuing up to 1,330,692
Grundkapitals     der   Schuldnerin     um     bis   zu


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EUR 1.330.692,00 durch Ausgabe von bis zu             new no-par value registered shares (Condi-
1.330.692 neuen, auf den Namen lautenden              tional Capital 2020/I), as provided for in § 4
Stückaktien (Bedingtes Kapital 2020/I), werden        para. 5 of the Articles of Association of Debtor,
aufgehoben.                                           are cancelled.


§ 4 Abs. 5 der Satzung der Schuldnerin wird ersatz-   § 4 para. 5 of the Articles of Association of
los gestrichen.                                       Debtor shall be deleted without replacement.


3.    Zuzahlung in die freie Kapitalrücklage          3.       Cash contribution to the capital re-
                                                               serve


MGG Investor verpflichtet sich des Weiteren, eine     MGG Investor further undertakes to pay a con-
schuldrechtliche, von der Kapitalerhöhung gemäß       tractual cash contribution, independent from
Abschnitt C.III.1. unabhängige Zuzahlung in Höhe      the capital increase under Section C.III.1.
von bis zu USD 8.880.000,00 in die freie Kapital-     above,      in   the        amount   of     up         to
rücklage der Schuldnerin gemäß § 272 Abs. 2 Nr. 4     USD 8,880,000.00 into the free capital reserve
HGB einzuzahlen und gibt hierzu die als Anlage 9      of the Debtor under Sec. 272 (2) no. 4 HGB
beigefügte Erklärung gemäß § 15 Abs. 3 StaRUG         and submits the declaration pursuant to
ab.                                                   Sec. 15 (3) StaRUG attached hereto as An-
                                                      nex 9.


4.    Handelsregisteranmeldung                        4.       Registration with commercial register


Die Kapitalherabsetzung, die Barkapitalerhöhung       The capital reduction, the cash capital increase
und      ihre     Durchführung       sowie      die   and its implementation as well as the amend-
Satzungsänderungen sind von den geschäftsführen-      ments to the Articles of Association shall be
den     Direktoren    und,     im     Falle     der   notified without undue delay for entry in the
Barkapitalerhöhung und ihrer Durchführung zusätz-     commercial register of Debtor by the managing
lich vom Vorsitzenden des Verwaltungsrats unver-      directors and, in the case of the cash capital in-
züglich zur Eintragung in das Handelsregister der     crease and its implementation, additionally by
Schuldnerin anzumelden.                               the chairman of the administrative board.


IV. Weitere Regelungen                                IV. Further Provisions

1.    Bereitstellung von Mitteln gemäß § 64           1.       Provision     of    funds   pursuant          to
      Abs. 3 StaRUG                                            Sec. 64 (3) StaRUG


Gemäß § 64 Abs. 3 StaRUG werden Mittel in Höhe        Pursuant to Sec. 64 (3) StaRUG, funds in the
von EUR 100.000,00 durch Hinterlegung auf einem       amount of EUR 100,000.00 shall be made
Sonderkonto der Schuldnerin bereitgestellt für den    available by deposit in a special account of
Fall, dass ein Planbetroffener nachweist, dass er     Debtor in the event that a Plan-Affected Party

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durch den Restrukturierungsplan voraussichtlich                      proves that it is likely to be placed in worse po-
schlechter         gestellt       wird,      als    er       ohne    sition as a result of the Restructuring Plan than
Restrukturierungsplan stünde. Die Schuldnerin ist                    it would have been without the Restructuring
berechtigt,        nicht        jedoch     verpflichtet,      den    Plan. Debtor shall be entitled, but not obliged,
hinterlegten        Betrag       zu      erhöhen,   falls     das    to increase the amount deposited if the Restruc-
Restrukturierungsgericht dies für erforderlich hält,                 turing Court deems it necessary to do so in or-
um eine Entscheidung zugunsten der Schuldnerin zu                    der to reach a decision in favor of Debtor.
treffen.


Soweit ein Nachweis über eine etwaige Schlechter-                    Insofar as proof of any worse position can be
stellung gelingen sollte, ist die Schuldnerin                        furnished, Debtor shall be obliged, following
verpflichtet, nach Verkündung einer rechtskräftigen                  the pronouncement of a final decision within
Entscheidung im Sinne von § 64 Abs. 3 Satz 2                         the meaning of Sec. 64 (3) sent. 2 StaRUG, to
StaRUG den gerichtlich festgesetzten Betrag zu                       pay the amount determined by the court to the
Lasten       der      hinterlegten         Mittel    an       den    debit of the deposited funds to the Plan-Af-
Planbetroffenen auszuzahlen, der den Antrag auf                      fected Party which filed the application for re-
Versagung                 der         Bestätigung             des    fusal of confirmation of the Restructuring Plan
Restrukturierungsplans gemäß § 64 Abs. 1 StaRUG                      pursuant to Sec. 64 (1) StaRUG. Debtor shall
gestellt hat. Freiwerdende Beträge stehen der                        be entitled to any amounts released.
Schuldnerin zu.


2.       Offensichtliche Fehler                                      2.    Obvious mistakes


Die        Schuldnerin             wird       bevollmächtigt,        Debtor is authorized to correct obvious mis-
offensichtliche Fehler des Restrukturierungsplans                    takes of the Restructuring Plan.
zu berichtigen.


3.       Salvatorische Klausel                                       3.    Severability Clause


Sollte             eine           Bestimmung                dieses   If any provision of this Restructuring Plan is or
Restrukturierungsplans             unwirksam        sein     oder    becomes invalid, this shall not affect the valid-
werden, so berührt dies die Wirksamkeit der übrigen                  ity of the remaining provisions. The invalid
Bestimmungen nicht. Die unwirksame Bestimmung                        provision shall be replaced by a valid provision
ist durch eine wirksame zu ersetzen, die inhaltlich                  whose content corresponds as closely as possi-
dem Gewollten möglichst weitgehend entspricht.                       ble to what was intended. The same shall apply
Gleiches gilt für eine Lücke.                                        in the event of an omission.




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4.     Gerichtliches   Planabstimmungsverfah-         4.   Court proceeding for voting on the
       ren; keine Planüberwachung                          plan; no plan monitoring


Die Abstimmung über den Restrukturierungsplan         The vote on the Restructuring Plan shall be
wird     im     Wege        eines     gerichtlichen   conducted by way of a court plan voting proce-
Planabstimmungsverfahrens     gemäß    §§ 23,   45    dure pursuant to Sec. 23, 45 StaRUG.
StaRUG durchgeführt.


Eine Planüberwachung ist nicht vorgesehen.            No plan monitoring is provided.




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                   Anlagen                                            Annexes


Anlage 1       Liquiditätsplanung unter Außeracht-     Annex 1      Liquidity planning not consider-
               lassung der Planmaßnahmen und der                    ing the plan measures and the In-
               auf die Durchführung des Restruktu-                  terim Financing conditional on
               rierungsverfahrens bedingten Interim-                the implementation of the re-
               Finanzierung                                         structuring proceedings


Anlage 2       Liquiditätsplan                         Annex 2      Liquidity statement


Anlage 3       Erklärung zur Bestandsfähigkeit ge-     Annex 3      Statement of viability according
               mäß § 14 Abs. 1 StaRUG                               to Sec. 14 (1) StaRUG


Anlage 4       Pro-Forma-Einzelbilanz der Schuld-      Annex 4      Pro forma individual balance
               nerin zum 30. September 2023                         sheet of Debtor as of Septem-
                                                                    ber 30, 2023


Anlage 5       Erklärung von MGG über die Abände-      Annex 5      Declaration of MGG regarding
               rung der Finanzierungsvereinbarung                   amendments of the Financing
               vom 11. März 2022                                    Agreement      dated     March 11,
                                                                    2022


Anlage 6       Erklärung der Spark-Gruppengesell-      Annex 6      Declaration of Spark Group
               schaften gemäß § 15 Abs. 3 StaRUG                    members        according             to
               über die Abänderung der Finanzie-                    Sec. 15 (3) StaRUG regarding
               rungsvereinbarung vom 11. März                       amendments of the Financing
               2022                                                 Agreement      dated     March 11,
                                                                    2022


Anlage 7       Beschluss des Verwaltungsrats zur       Annex 7      Administrative board resolution
               Auflösung der Kapitalrücklage vom                    on dissolution of capital reserve
               2. November 2023                                     dated November 2, 2023


Anlage 8       Zeichnungszusage von MGG Investor       Annex 8      Pre-subscription declaration of
               gemäß § 15 Abs. 3 StaRUG                             MGG     Investor       pursuant      to
                                                                    Sec. 15 (3) StaRUG




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Anlage 9        Erklärung über Erbringung einer Ein-    Annex 9      Equity commitment letter of
                lage in die freie Kapitalrücklage von                MGG      Investor      pursuant        to
                MGG Investor gemäß § 15 Abs. 3 Sta-                  Sec. 15 (3) StaRUG
                RUG


Anlage 10       Stimmrechtsliste                        Annex 10     Voting rights list


Anlage 11       Vergleichsrechnung                      Annex 11     Comparative Calculation


Anlage 12       Ergebnis- und Finanzplan                Annex 12     Profit and financial plan




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                                   Schedule A

         Persons or Bodies Authorized to Administer Foreign Proceedings

1. Mr. Adrian Frankum
   485 Lexington Avenue, 10th Floor, New York, New York, United States 10017
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                                               Schedule B

                                     List of Pending U.S. Litigation

         To the best of the Foreign Representative’s knowledge and belief, the following is a list
of pending litigation in which Spark Networks, Inc. is a party in the United States at the time of
the filing of this petition:


                      Case                                      Name and Address
 Doe v. Termehi, No. 22VECV01943 (Cal.             Law Offices of Christopher G. Hook
 Super. Ct. Los Angeles Cnty., filed               Christopher G. Hook, Esq.
 November 9, 2022)                                 1801 Century Park East, 25th Floor
                                                   Los Angeles, California 90067-2336
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                                    Schedule C

               List of Entities Subject to Provisional Relief Request

None.
